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                                        TAB 336
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Palmetto DMERC (Robin K. Stone)                          October 14, 2009
                         Columbia, SC

                                                                         1
               UNITED STATES DISTRICT COURT

          FOR THE DISTRICT OF MASSACHUSETTS


     -----------------------------------x
     IN RE PHARMACEUTICAL INDUSTRY      :
     AVERAGE WHOLESALE PRICE            : MDL NO. 1456
     LITIGATION                         : MASTER FILE NO. 01-CV-12257-PBS
     -----------------------------------x SUBCATEGORY NO. 06-CV-11337-PBS
     THIS DOCUMENT RELATES TO:          :
     UNITED STATES OF AMERICA EX REL.   : JUDGE PATTI B. SARIS MAGISTRATE
     VEN-A-CARE OF THE FLORIDA KEYS,    : JUDGE MARIANNE B. BOWLER
     INC., ET AL. V. BOEHRINGER         :
     INGELHEIM CORPORATION, ET AL.,     :
     CIVIL ACTION NO. 07-10248-PBS      :
          and                           :
     UNITED STATES OF AMERICA EX REL.   : OCTOBER 14, 2009
     VEN-A-CARE OF THE FLORIDA KEYS,    : 12:03 P.M.
     INC., ET AL. V. DEY LABORATORIES. :
     -----------------------------------x



                         VIDEOTAPE DEPOSITION OF:

                  30(b)(1) and 30(b)(6) REPRESENTATIVE

                    OF PALMETTO DMERC (ROBIN K. STONE)

                                TAKEN AT:

                      Law Offices of Nelson, Mullins,

                            Riley & Scarborough

                       1320 Main Street, 17th Floor

                               Columbia, SC



     REPORTED BY:     TERRI L. BRUSSEAU, RPR, CRR




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                                                                           2 (Pages 2 to 5)
                                                    2                                                           4
 1   APPEARANCES OF COUNSEL:                    1                  INDEX
 2     ATTORNEYS FOR THE PLAINTIFF              2            WITNESS: ROBIN K. STONE                         PAGE
 3       UNITED STATES OF AMERICA:              3                BY MR. GORTNER                          9
 4       DEPARTMENT OF JUSTICE                  4                BY MR. FAUCI                      160
 5       UNITED STATES ATTORNEY'S OFFICE        5
 6       BY: JAMES J. FAUCI, AUSA               6
 7       John Joseph Moakley Federal Courthouse 7                    EXHIBITS
 8       1 Courthouse Way, Suite 9200
                                                8            NUMBER             DESCRIPTION                PAGE
 9       Boston, MA 02210
                                                9            Exhibit Roxane 252 Exhibit 98, Exhibit to the
10       (617) 748-3298
                                               10                        July 24, 2009 Declaration
11       jeff.fauci@usdoj.gov
                                               11                        of George B. Henderson, II 7
                                               12            Exhibit Roxane 253 Document, Redbook 2000 Drug
12     ATTORNEYS FOR THE DEFENDANTS BOEHRINGER
13      INGELHEIM CORP., BOEHRINGER INGELHEIM
                                               13                        Topics, with attachments     43
14      PHARMACEUTICALS, INC., BOEHRINGER
                                               14            Exhibit Roxane 254 Document, Redbook 2001 Drug
15      INGELHEIM ROXANE, INC. and ROXANE      15                        Topics, with attachments     46
16      LABORATORIES, INC.:                    16            Exhibit Roxane 255 Document, DMERC Medication
17      KIRKLAND & ELLIS, LLP                  17                        Pricing, with attachments 68
18      BY: ERIC GORTNER                       18            Exhibit Roxane 256 Detailed Product Information
19      300 North LaSalle Street               19                        sheets for Ipratropium
20      Chicago, IL 60654                      20                        Bromide                106
21      (312) 862-2285                         21            Exhibit Roxane 257 Detailed Product Information
22      eric.gortner@kirkland.com              22                        sheets for Atrovent       106

                                                    3                                                           5
 1   APPEARANCES: (CONTINUED)                            1           E X H I B I T S (CONTINUED)
 2     ATTORNEYS FOR THE DEFENDANT                       2   NUMBER              DESCRIPTION             PAGE
 3       DEY LABORATORIES:                               3   Exhibit Roxane 258 Detailed Product Information
 4       KELLEY, DRYE & WARREN, LLP                      4                sheets for Ipratropium
 5       BY: MARISA A. LORENZO (BY TELEPHONE)            5                Bromide-NovaPlus           106
 6       101 Park Avenue                                 6   Exhibit Roxane 259 Document, Diltiazem HCL      150
 7       New York, NY 10178-0002                         7   Exhibit US Stone 001 Document, Tab 171, with
 8       (212) 808-7697                                  8                attachments            160
 9       mlorenzo@kelleydrye.com                         9
10                                                      10
11     ATTORNEYS FOR BLUECROSS/BLUE SHIELD              11
12      OF SOUTH CAROLINA:                              12
13      KENDALL R. WALKER                               13
14      I-20 @ Alpine Road AA-270                       14
15      Columbia, SC 29219                              15
16      (803) 264-6632                                  16
17      kendall.walker@bcbsc.com                        17
18                                                      18
19     ALSO PRESENT: Alan Metts, Video Technician       19
20                                                      20
21                                                      21
22                                                      22


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Palmetto DMERC (Robin K. Stone)                                                         October 14, 2009
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                                                                             3 (Pages 6 to 9)
                                                       6                                                        8
 1               STIPULATION                                1   Corporation, et al., Civil Action Number
 2                                                          2   07-10248-PBS and also cross-noticed in the United
 3           It is stipulated by and among Counsel          3   States of America ex rel. Ven-A-Care of the
 4   that this deposition is being taken in accordance      4   Florida Keys, Incorporated, et al., versus Dey
 5   with the Federal Rules of Civil Procedure; that all    5   Laboratories, Master File Number 01-CV-12257-PBS
 6   objections as to Notice of this deposition are         6   in the United States District Court for the
 7   hereby waived; that all objections except as to        7   District of Massachusetts.
 8   form are reserved until the time of trial; and that    8          And if counsel now identify yourselves.
 9   the witness waives reading and signing of this         9          MR. GORTNER: Eric Gortner from
10   deposition.                                           10   Kirkland & Ellis representing Roxane Laboratories
11   * * * * * * * * * * *                                 11   and Boehringer Ingelheim Corporation and related
12                                                         12   entities.
13                                                         13          MR. FAUCI: Jeff Fauci on behalf of the
14                                                         14   United States.
15                                                         15          MR. WALKER: Kendall Walker for
16                                                         16   Palmetto GBA, I'm in-house counsel for Blue Cross
17                                                         17   and Blue Shield of South Carolina.
18                                                         18          VIDEO TECHNICIAN: And would the Court
19                                                         19   Reporter now swear in the witness.
20                                                         20          MR. GORTNER: We have someone on the
21                                                         21   phone, I believe.
22                                                         22          MS. LORENZO: This is Marisa Lorenzo
                                                       7                                                        9
 1         (Exhibit Roxane 252, Exhibit 98,                 1   from Kelley, Drye & Warren for the Dey
 2   Exhibit to the July 24, 2009 Declaration of            2   defendants.
 3   George B. Henderson, II In Support of Plaintiffs'      3          VIDEO TECHNICIAN: I couldn't hear her,
 4   Motion For Partial Summary Judgment and In             4   I'm sorry.
 5   Opposition To Dey's Motion For Partial Summary         5          MR. GORTNER: Hey, Marisa, could you
 6   Judgment, was marked for identification.)              6   speak up a little bit?
 7         VIDEO TECHNICIAN: We are now on the              7          MS. LORENZO: Sure. This is Marisa
 8   record. Today's date is October 14th, 2009. The        8   Lorenzo from Kelly Drye & Warren for the Dey
 9   time is 12:02 PM. This is the videotape                9   defendants.
10   deposition of Robin Kreush Stone, 30(b)(1) and        10          VIDEO TECHNICIAN: And would the Court
11   30(b)(6) representative of Palmetto DMERC, taken      11   Reporter now swear in the witness.
12   by counsel for the Defendant. The location is         12             ROBIN K. STONE being first duly
13   Nelson Mullins, 1320 Main Street, 17th Floor,         13   sworn, testified as follows:
14   Columbia, South Carolina.                             14          MR. FAUCI: And before we begin, I just
15         My name is Alan Metts, legal                    15   want to state for the record that although the
16   videographer, representing Henderson Legal            16   deposition was noticed 30(b)(1), the parties
17   Services. The Court Reporter is Terri Brusseau.       17   don't have any objection to this being both
18   This deposition is taken in the matter of the         18   30(b)(1) and 30(b)(6) deposition testimony
19   Pharmaceutical Industry Average Wholesale Price       19   consistent with Mrs. Stone's prior testimony as a
20   Litigation relating to the United States of           20   30(b)(6) witness for Palmetto DMERC.
21   America ex rel. Ven-A-Care of the Florida Keys,       21             EXAMINATION
22   Incorporated, et al., versus Boehringer Ingelheim     22          BY MR. GORTNER:


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Palmetto DMERC (Robin K. Stone)                                                       October 14, 2009
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                                                                       4 (Pages 10 to 13)
                                                    10                                                      12
 1      Q. Good afternoon, Mrs. Stone. As you             1      Q. Right.
 2   know, my name is Eric Gortner. I represent           2      A. Bunker Henderson and Jeff Fauci.
 3   Roxane defendants and certain companies that have    3      Q. And do you know on or about when they
 4   been sued by the Department of Justice involving     4   contacted you to prepare this declaration?
 5   certain Medicare claims. I'm aware that you have     5      A. I can't remember the exact dates but I
 6   been deposed before in this case sometime earlier    6   want to say probably a few months ago.
 7   in 2008, is that right?                              7      Q. I'm sorry, look -- if you look at the
 8      A. That's right.                                  8   back of the document, maybe this will help
 9      Q. And you're familiar with the general           9   refresh your recollection. The document says it
10   rules of a deposition which include that all        10   was -- that you executed the signature on July
11   answers need to be spoken answers, head nods and    11   23rd, 2009. Do you recall whether you were
12   head shaking won't work?                            12   contacted some -- a few days before July 23rd, a
13      A. Yes.                                          13   week, two weeks, something like that?
14      Q. And it will be helpful to the extent          14      A. I don't remember the exact date prior
15   that you're able to speak up loudly and clearly     15   to July 23rd.
16   so that the Court Reporter who is taking down       16      Q. Okay. Do you think it was a couple
17   every word that you say can hear it, that will be   17   days?
18   helpful. And the other thing that we should try     18      A. I don't remember. I mean, I received
19   to do as best as we're able is to not talk over     19   e-mails, you know, and things like that, you
20   each other so there may be some times where you     20   know, notifying me that this was coming down but
21   will anticipate where my question is likely to      21   I don't remember the exact dates.
22   end. I'll ask you as best as possible to            22      Q. And who e-mailed you?
                                                    11                                                      13
 1   patiently wait for me to finish the question so      1      A. I want to think it started out with
 2   that we can get clear questions and answers on       2   Bunker Henderson.
 3   the transcript.                                      3          MR. FAUCI: I'll just counsel the
 4      A. Okay.                                          4   witness to be cautious -- being cautious to not
 5      Q. And you understand that you're under           5   answer any questions regarding the substance of
 6   oath, of course?                                     6   your communications with either myself or Mr.
 7      A. Yes.                                           7   Henderson but proceed for right now.
 8      Q. If at any point I ask a question that          8          THE WITNESS: Okay. I don't recall the
 9   you don't understand, feel free to ask me to         9   exact dates. My day-to-day schedule is very busy
10   clarify the question and I'll do the best I can.    10   and I don't keep track of time in that manner.
11      A. Okay.                                         11   This, as it states, was signed on July 23rd. I
12      Q. I'm going to hand you what we have            12   do not recall, you know, if it was days before
13   premarked as Roxane Exhibit 252 and this is a       13   that or may have been a week before that. In
14   declaration that you prepared in the Department     14   reference to the declaration there were, you
15   of Justice Roxane matter. Do you recognize that     15   know, other requests as far as notification
16   document?                                           16   notifying me that this was coming down which I
17      A. Yes, I do.                                    17   believe may have been like the 1st of July
18      Q. I was hoping to get a little bit of a         18   because I think the first communication was when
19   background in terms of how this -- how you came     19   I was going on vacation, which was during that
20   to be involved in this document. Can you tell me    20   time period.
21   who contacted you?                                  21          MR. GORTNER: Jeff, what's the basis of
22      A. For this particular document?                 22   your objection about the contacts between Bunker


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                                                                       5 (Pages 14 to 17)
                                                   14                                                        16
 1   and you and Mrs. Stone?                              1   in Roxane Exhibit 252, those aren't words that
 2          MR. FAUCI: A, I wasn't trying to make         2   you wrote?
 3   an objection but, B, the government -- the United    3           MR. FAUCI: Objection to form.
 4   States is certainly taking the position that         4           THE WITNESS: I provided -- I mean, I
 5   Palmetto is a government contractor who              5   didn't, of course, write every detail but I gave
 6   administers a federally-funded program pursuant      6   them, you know, my input to these items here.
 7   to federal contracts that Miss -- the government     7   It's not word-for-word verbatim but the content
 8   has consistently and continues to take the           8   of it I approved.
 9   position that the attorney/client privilege          9           BY MR. GORTNER:
10   encompasses communications between employees of     10       Q. Okay. So the way --
11   DMERC and the United States.                        11       A. The final content.
12          MR. GORTNER: Any communications              12       Q. I'm sorry, I didn't mean to interrupt
13   rendering legal advice, right?                      13   you. So the way it worked mechanically was phone
14          MR. FAUCI: Yes, which would include          14   conversations back and forth to the Department of
15   communications regarding the drafting of this       15   Justice attorneys, you then, I presume, saw a
16   affidavit. We can address this on a --              16   draft of Roxane Exhibit 252 and reviewed it for
17          MR. GORTNER: Okay.                           17   content and approved it?
18          MR. FAUCI: I haven't counseled her not       18       A. This is 252? Yes.
19   to answer any specific questions and I cautioned    19       Q. Were there different versions that you
20   her to be careful in what she answers and I think   20   reviewed?
21   we can handle it on a case-by-case basis.           21       A. There was another version I believe in
22          BY MR. GORTNER:                              22   which, you know, I clarified what would be
                                                   15                                                        17
 1       Q. Do you recall what the content of the         1   correct.
 2   e-mails were that were sent to you by Bunker and     2       Q. And what was the subject matter of what
 3   Mr. Fauci?                                           3   you clarified?
 4       A. Just notifying me that I would be             4          MR. FAUCI: Objection to form. And
 5   deposed at one point and there was some              5   again, I counsel Miss Stone not to get into any
 6   communication regarding, you know, the CD's that     6   of the details of conversations between Mr.
 7   we used, CD's --                                     7   Henderson or myself.
 8       Q. You're talking about the Redbook CD's?        8          BY MR. GORTNER:
 9       A. Yeah.                                         9       Q. With that instruction answer the
10       Q. You're referring to the additional CD's      10   question as best you can.
11   that were produced in this case?                    11       A. Okay. I don't recall exactly which
12       A. Right.                                       12   ones but there were a few, you know, things that
13       Q. Sometime this summer?                        13   based on my conversation, you know, when written
14       A. Right.                                       14   that I disagreed with and they went back and
15       Q. Well, let's just stick for now in terms      15   corrected them.
16   of this declaration that you submitted. Did you     16       Q. Did any of those corrections have to do
17   have conversations with Mr. Fauci and Mr. Bunker    17   with the classification of the NovaPlus
18   about the contents of this declaration?             18   Ipratropium Bromide product?
19       A. Just, you know, confirming that I could      19          MR. FAUCI: Objection to form, same
20   attest to, you know, everything that I've said in   20   instruction.
21   here.                                               21          THE WITNESS: I'm not sure exactly
22       Q. Now, I take it that the words that are       22   which ones I had disagreed with. They were very,


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                                                                       6 (Pages 18 to 21)
                                                    18                                                      20
 1   you know, minor. I'm not sure which ones exactly     1       Q. What was the information that you
 2   I may have had them change the verbiage on.          2   looked at?
 3          BY MR. GORTNER:                               3       A. The arrays and the various files that
 4       Q. That's okay. When we go through the           4   we had provided with the dec -- well, not the
 5   declaration, if anything triggers your memory let    5   declaration, but the suit itself.
 6   me know, okay?                                       6       Q. What are the various files you're
 7       A. Okay.                                         7   talking about?
 8       Q. Now, in reviewing this declaration and        8       A. Just array files, the fee calculation
 9   discussing the content of it, did you talk to any    9   array files, looked at procedures, looked at
10   other Palmetto DMERC employee regarding this        10   another file that categorized products brand
11   declaration?                                        11   versus generic.
12       A. No.                                          12       Q. Anything else?
13       Q. So is it fair to say that the content        13       A. I mean, those were the files, you know,
14   of what's in your declaration that we've marked     14   that I was provided, you know, that I was looking
15   as Roxane Exhibit 52, it's all based upon your --   15   at, the array files. I'm trying to think. I
16   either your memory or recollections or the          16   don't think there was anything else. The array
17   information that you knew?                          17   files, the procedures. Oh, the Redbook CD's.
18       A. That is correct.                             18       Q. Okay. And you mean the CD/ROM's?
19       Q. So you didn't go back to anyone who          19       A. Yes.
20   worked on the pricing arrangements and ask them     20       Q. And you were able to actually open
21   about the NovaPlus product, is that right?          21   those up and look at them?
22       A. No.                                          22       A. Um-hum.
                                                    19                                                      21
 1      Q. I'm sorry, the answer was no?                  1      Q. Okay. And what did you look at on
 2      A. No.                                            2   those CD's, do you recall?
 3      Q. Just a slight pause, make sure we don't        3      A. Just looking at the way different
 4   overlap. No, it's okay.                              4   things worked, how they -- how the data was
 5      A. I'm sorry.                                     5   presented because I wasn't very familiar, I
 6      Q. Now, in preparing this declaration, did        6   didn't work real closely with the CD's, and just
 7   you, yourself, go back and look at the Palmetto      7   going back and trying to look at them in
 8   pricing range where the NovaPlus product was         8   comparison to the hard copy manuals.
 9   included?                                            9      Q. When you say hard copy manuals --
10      A. Yes, I did.                                   10      A. The annual hard copy books, Redbook.
11      Q. Did you look at all of them?                  11      Q. The Redbook manual?
12      A. I went back and skimmed through some of       12      A. Yes.
13   my files and other files that were -- you know,     13      Q. You said a moment ago that the files
14   that I had available to me just to make sure that   14   that were provided to me. I wanted to understand
15   I was correct in not recalling.                     15   what you meant by that. You mean that -- who
16      Q. Let me stop there for a second. When          16   provided those files to you? Did you select them
17   preparing this declaration, did you have a          17   or did someone provide them to you?
18   specific memory of the Roxane NovaPlus              18      A. There were just things that, you know,
19   Ipratropium Bromine products and how they had       19   I was asked to kind of look over and get familiar
20   been categorized in the Palmetto arrays?            20   with to see, you know, if what I had stated here
21      A. When initially prepared, no. I had to         21   by looking at them still held -- was true.
22   go back and look at the information.                22      Q. And what did the fee calculation or the


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                                                                       7 (Pages 22 to 25)
                                                    22                                                       24
 1   arrays, what did that tell you about whether what    1   for this quarter, for these J codes, the fee was
 2   you said in the declaration was true?                2   set based upon the median of the generics, is
 3      A. Well, some of the fees --                      3   that right?
 4          MR. FAUCI: Objection to form.                 4       A. Yes.
 5          BY MR. GORTNER:                               5       Q. And in every instance in these arrays
 6      Q. You can answer.                                6   when the source column has a G in it, it means
 7      A. Okay. Some of the fees of the fee              7   that the actual fee that Palmetto set to pay for
 8   array, the way it was structured, it had a G on      8   Medicare claims for that particular J code was
 9   the end of the file, which insinuated or could       9   based upon the median generic, not on a brand,
10   have been speculated that these sources were        10   right?
11   considered generic but that wasn't the case.        11       A. That's what my research of the
12   That was the basis of the fee calculation being     12   documents I was looking at.
13   based on generic and therefore it was misleading.   13       Q. And then at a later point in time the
14      Q. Let me stop you right there. What I'd         14   -- which may have coincided with you switching to
15   like to do is why don't I pull out the actual --    15   an SAS program, I'm not sure if that's correct,
16   what we have been calling the arrays but you may    16   but there's a -- there's not -- the source column
17   also be calling the fee calculation. Let me get     17   changes to a term that I think says O type. And
18   those documents so we can look at them together     18   if you want, you can flip these to 0075, a couple
19   and make sure we're on the same page, okay?         19   pages over, and you can see that there's now a
20          This is a document that's previously         20   far right column that I read as O type on the far
21   been marked as Roxane Exhibit 46. And maybe you     21   right that has that same G and B designation, do
22   could turn to -- it may be useful to turn to --     22   you see that?
                                                    23                                                       25
 1   how about the page that's Bates labeled              1       A. Yes.
 2   AWQ022-0071. They're consecutive so the 71 might     2          MR. FAUCI: Objection to form.
 3   get you where you are. And what I think you were     3          THE WITNESS: O type.
 4   just referring to in your testimony is that far      4          BY MR. GORTNER:
 5   right-hand column on this chart and on this          5      Q. I'm sorry, what's that?
 6   particular page, the one that's Bates labeled        6       A. It says type.
 7   0071, you can see that the Ipratropium Bromide       7      Q. Okay, type.
 8   NovaPlus products are there in the middle of the     8          MR. GORTNER: And was that the basis of
 9   page and I think you were testifying as to that      9   your objection, Jeff?
10   far right column that has either a G or a B in      10          MR. FAUCI: That and I'm not sure what
11   it?                                                 11   you meant by SAS program.
12       A. Um-hum.                                      12          BY MR. GORTNER:
13       Q. And what I believe you were just saying      13      Q. Okay. Let's strike that. I thought
14   or what you said in your declaration is that your   14   Palmetto at one point had changed to an automated
15   understanding of that column is that that           15   program but let's just ignore that, let me go
16   reflects whether the fee that was ultimately set    16   back to this, on this particular array with the
17   for that particular J code, whether it was set up   17   Bates label AWQ022-0075. Is it your
18   on a brand drug or a brand source, which is a       18   understanding that that far right column that's
19   generic drug or generic source, is that right?      19   either O type or type is in effect representing
20       A. That's correct.                              20   the same information that the source column
21       Q. And what that column -- in reviewing         21   represented in the earlier arrays?
22   this, what that column told you is that for --      22       A. Yes.


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                                                                       8 (Pages 26 to 29)
                                                    26                                                       28
 1       Q. And what that's telling you here is,          1   the generics because the generics are the -- I
 2   for instance, J code, J6 -- J7644KO, which you       2   mean, the generic was the lowest of the median
 3   can see at the very bottom of this page, that the    3   and of the lowest brand.
 4   payment for not just those drugs but all the         4       Q. Okay. That was really my question. I
 5   drugs under that J code are set by the median        5   just wanted to confirm that during the time that
 6   generic there?                                       6   Ipratropium Bromide NovaPlus was in the arrays,
 7       A. Yes.                                          7   it didn't set the payment amount, it wasn't based
 8       Q. And I'll represent to you, Mrs. Stone,        8   upon its location of the brand array, the payment
 9   in looking over all these arrays, it appears to      9   amount was set based on the median generic?
10   me that all the Ipratropium Bromide payments for    10          MR. FAUCI: Objection to form.
11   these arrays that are marked in this exhibit have   11          THE WITNESS: Yes, if it was -- if it
12   the indication under either the source or the       12   was based on generics, the Ipratropium Bromide
13   type column that the payment was set by G, by a     13   NovaPlus price would have been considered in
14   generic, median generic set the price and not the   14   developing the fee but if the brand was not
15   brand, is that consistent with your recollection?   15   lower, then it is based on the median of the
16       A. Can you repeat that again, please?           16   generics if it's the lower sources.
17       Q. Sure. In reviewing these arrays that         17          BY MR. GORTNER:
18   have been marked as Roxane Exhibit 46 on the        18       Q. And that's reflected by a G in either
19   Palmetto DMERC, I looked at all the entries for     19   the source column --
20   payment source for Ipratropium Bromide and the      20       A. That is correct.
21   different J codes and in every instance the entry   21       Q. -- or the type column? Okay. Now, you
22   in the source column or the type column had a G     22   said you also reviewed procedures in considering
                                                    27                                                       29
 1   for that particular drug. And my question to         1   the content of your declaration. What procedures
 2   you: Is that consistent with your recollection?      2   are you referring to?
 3       A. I'm not sure I understand exactly what        3      A. Our internal procedures.
 4   you're saying but I see one here that has a B.       4      Q. And what are those? Are those written
 5   If I'm not mistaken I was understanding you to       5   down?
 6   say that they all had G's?                           6      A. Yes, they are.
 7       Q. Let me correct the question then. Let's       7      Q. What are they called?
 8   focus on just the time period where Ipratropium      8      A. Drug pricing instructions, procedures.
 9   Bromide NovaPlus was in the array.                   9   I don't know the precise name.
10       A. Just NovaPlus?                               10      Q. Okay. Let me see if I can locate
11       Q. Yeah. That might make it a little bit        11   something like that and let me know if this is
12   easier. And my recollection in reviewing these      12   what you're referring to. I'm going to hand you
13   arrays was that every time that NovaPlus            13   what's been previously marked as Roxane Exhibit
14   Ipratropium Bromide was in the array, it had a G    14   42. It appears to be a December 1, 1999 letter
15   next to the source column or the type column        15   from you to it seems the HCFA central office and
16   which according to your testimony suggested the     16   the regional administrators. And at the back it
17   payment was based on the median of the generic      17   has attached a document that's entitled Medicare
18   prices and not based upon any brand price. Is       18   Professional Reimbursement Desk Procedure and
19   that consistent with your recollection of how       19   then it has another heading that says Drug
20   payments occurred?                                  20   Pricing Procedure, Medicare Part A, B, SAD or
21       A. The payment for all Ipratropium              21   SADMERC and DMERC. Do you see that document?
22   Bromide, my sources would have been based off of    22      A. Um-hum.


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                                                  30                                                        32
 1       Q. Is that what you're referring to by          1       A. I don't remember when they did all that
 2   your internal procedures?                           2   change.
 3       A. Yes.                                         3       Q. Okay. And what was the purpose of this
 4       Q. Okay. And taking a step back, can you        4   document?
 5   just explain to me what is this document, who       5          MR. FAUCI: Object to form.
 6   creates it, who updates it, who uses it?            6          THE WITNESS: The document provided
 7       A. This is created by the pricing unit          7   guidance.
 8   which is now Palmetto GBA. Initially it was         8          BY MR. GORTNER:
 9   created as a Part B document, I'm not sure who      9       Q. To whom?
10   the initial creator was, and then once we took     10       A. To the associates doing the
11   the DMERC or took on the DMERC contract, we        11   calculations.
12   merged it into a standard procedure used by all    12       Q. I'll represent to you that I've seen
13   departments trying to encompass everyone's         13   this document -- or let me correct that. This
14   requirements into one procedure.                   14   document has been produced by other DMERC's. Is
15       Q. Let me stop you there just for a            15   it your understanding or do you have an
16   second, Mrs. Stone, make sure I understand what    16   understanding whether this document was
17   you're saying. You're not sure who initially       17   distributed to other DMERC's like Cigna or
18   developed it but is it your understanding it was   18   Administar?
19   initially developed by a DMERC or some Medicare    19       A. It probably has been shared as the
20   carrier? I'm just trying to distinguish whether    20   DMERC's tried to consolidate. I'm not sure if it
21   it was created by HCFA or by a DMERC.              21   was shared in that capacity or if it was shared
22       A. No, it was initially created by Blue        22   when we were doing some -- this may -- there was
                                                  31                                                        33
 1   Cross/Blue Shield as the Medicare Part B carrier  1     one document that I saw that we worked on
 2   for South Carolina. Then when we became the       2     together and I'm not sure if it was shared at
 3   DMERC contractor, those functions were handled in 3     that time or what point in time it was actually
 4   one department or one unit, division, whatever    4     shared but it was our procedure to collaborate
 5   you -- however you want to refer to it, and       5     with each other on final drug fees developed.
 6   eventually those procedures were merged together  6        Q. And why were you trying to do that?
 7   for consistency.                                  7         A. To standardize nationally.
 8      Q. Okay. When did -- when did Blue             8        Q. By standardize nationally, you mean
 9   Cross/Blue Shield or Palmetto, depending on what  9     making sure that the DMERC's were doing -- were
10   the designation was, become a DMERC contractor?  10     setting fee payments consistently?
11      A. In 1992 or '93. I can't recall the         11         A. Yes. Or let me back up, actually to
12   exact date because I think there was some delay. 12     make sure that the fees -- the drug fees are
13      Q. But at some point in the early '90s        13     national, there's not one fee for one state, you
14   this document was a document that was authored   14     know, they shouldn't differ among the states for
15   and updated by Palmetto?                         15     DMERC so our goal was to make sure that one
16      A. It was actually Blue Cross/Blue Shield     16     contractor did not establish a fee different from
17   before that.                                     17     another.
18      Q. Fair enough.                               18        Q. Right, because all the methodologies
19      A. And became Palmetto.                       19     for setting fees should have been the same across
20      Q. Do you know about when it became           20     the DMERC's, correct, the governing -- the
21   Palmetto? I'm not trying to pin you to any       21     governing statute at least as of 1998 required
22   particular date.                                 22     them to determine to pay the lowest -- the


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                                                    34                                                      36
 1   generic Medicare appropriate drugs to pay the        1      A. Um-hum.
 2   lower of the median of the generic AWP's or a        2      Q. And in the first -- in the first
 3   brand name AWP if it was lower, right?               3   paragraph you write: The subject of this letter
 4          MR. FAUCI: Objection to form.                 4   references the Uniform Drug Pricing Project -
 5          THE WITNESS: Say that again, please.          5   Action - Reply due December 1, 1999. Do you see
 6          BY MR. GORTNER:                               6   that?
 7       Q. Let's just simplify this. The payments        7      A. Um-hum.
 8   that the DMERC's or the fees that they were          8      Q. What is this Uniform Drug Pricing
 9   setting for Medicare Part B drugs, for instance,     9   Project?
10   those should have all been the same because         10      A. I don't recall the actual content of
11   wasn't there one statute governing the payments     11   the CMS request but they were trying to find out
12   for Part B drugs? It didn't differ by state, did    12   what differences existed between different
13   it?                                                 13   contractors and their fee calculation practices.
14          MR. FAUCI: Objection to form.                14      Q. What -- did the title of Uniform Drug
15          THE WITNESS: Not that I'm aware of. I        15   Pricing Project suggest to you that they were
16   mean, we -- each carrier I think had their own      16   interested in uniform drug pricing?
17   policies for establishing drugs. They were never    17      A. Yes.
18   -- it was never something that each individual      18      Q. And then on that same first page of the
19   Part B contractor collaborated on but as we moved   19   December 1999 letter under a heading of 1,
20   into the DMERC world and began collaborating on     20   there's a Question Number 1: How do you
21   all fee schedules nationwide, we also began         21   determine AWP? What references do you use and how
22   collaborating on DMERC drugs for consistency.       22   do you get them?
                                                    35                                                      37
 1          BY MR. GORTNER:                               1          You then wrote: Palmetto GBA follows
 2       Q. But that was a concern that had been          2   the desk procedures in Attachment I. Do you see
 3   voiced at some point in the 1990s, right, the OIG    3   that?
 4   had written reports expressing concern that          4       A. Yes.
 5   DMERC's were not setting the same payment rates      5       Q. And you're referring -- Attachment I,
 6   for certain drugs; isn't that right?                 6   you're referring to this Medicare drug pricing
 7          MR. FAUCI: Objection to the form.             7   procedure?
 8          THE WITNESS: I can't recall exactly. I        8       A. Yes.
 9   know there were a lot of OIG reports and             9       Q. And so you were telling HCFA and the
10   everything but most of our work was driven from     10   office of regional administrators that the drug
11   CMS change requests.                                11   pricing procedure was -- were the procedures
12          BY MR. GORTNER:                              12   followed by Palmetto, is that right?
13       Q. Let's take a look at this document,          13       A. Yes.
14   Roxane Exhibit 42. Go to the first page of this     14       Q. And in that same response you also make
15   document, if you would, which is --                 15   a reference that Palmetto is currently using
16          MR. FAUCI: Are we on the first page of       16   quarterly updates of the Redbook Windows CD. Let
17   the drug pricing procedure or the actual --         17   me stop there. Is that a reference to the
18          BY MR. GORTNER:                              18   Redbook CD's that were produced this summer?
19       Q. The first page of Roxane Exhibit 42 is       19       A. Yes.
20   a letter from you, Mrs. Stone, to HCFA and the      20       Q. And then also the Drug Topics Redbook
21   office of regional administrators. Do you see       21   monthly publication as well?
22   that?                                               22       A. Yes.


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                                                    38                                                     40
 1       Q. So you were using both the CD/ROM and         1   or mailed out to providers, for instance?
 2   paper copies of these Redbooks, right?               2       A. No, no, these were internal.
 3       A. That's correct.                               3       Q. Internal to Palmetto and any other
 4       Q. Now, going back to the drug pricing           4   DMERC you may share it with?
 5   procedure guide on the first page which is Bates     5       A. True. We could possibly share it with
 6   labeled at the end 0880. It looks like there's       6   the other DMERC's. I don't know to what extent
 7   an entry there that the document was created on      7   we did share with the other DMERC's.
 8   December 12, 1995 and that it was updated on June    8       Q. And obviously you shared it with HCFA
 9   28th, 1999. Do you see that?                         9   and regional offices?
10       A. Yes.                                         10       A. Right.
11       Q. Do you recall at some point in this          11       Q. I wanted to draw your attention to the
12   litigation searching for all copies of the drug     12   second page of this document Bates labeled 0881.
13   pricing procedure that would be available in your   13   And under the heading Step 2 it says: Use
14   office, either electronically or hard copy?         14   generics. There is a paragraph entry at the very
15       A. What was produced was everything we          15   bottom that reads: To determine if a drug is
16   had.                                                16   generic or brand, look at the bold upper-case
17       Q. So is it your understanding that the         17   name of the drug. If there is another name for
18   June 28th, 1999 update is the last version of it?   18   the drug immediately below it in lower-case
19       A. 1999. I don't recall for sure. I             19   letters, paren, the generic name, close paren,
20   mean, I haven't looked at dates that correspond     20   the entries following are generally brands. If
21   with updates.                                       21   there is no lower-case drug name immediately
22           MR. FAUCI: Objection, form.                 22   below the boldface upper-case name, the boldface
                                                    39                                                     41
 1          BY MR. GORTNER:                             1     upper-case name is the generic name and all
 2      Q. Okay. Well, when you were talking            2     entries below are generics. In either case, if
 3   earlier about looking at your procedures with      3     an entry below the drug name refers to another
 4   respect to the declaration you submitted in this   4     page, that entry would be for a brand name.
 5   case, is this the type of document or is this the  5            Let me just stop there. Now, this --
 6   actual document that you reviewed?                 6     in the drug pricing procedure manual used by
 7      A. Yes.                                         7     Palmetto, this describes how to distinguish
 8      Q. Was this document kept internally or         8     between generics and brands, doesn't it?
 9   did you put it up on a Web site?                   9         A. Yes.
10      A. I don't recall during this particular       10         Q. Did you ever implement this criteria in
11   time. I want to think it was probably hard copy 11       classifying drugs as generic or brand?
12   or kept on our network. Of course with            12            MR. FAUCI: Object to form.
13   technology and change, now, today, they are on -- 13            THE WITNESS: Repeat that, please.
14   you know, they are available on a desktop.        14            BY MR. GORTNER:
15      Q. Have you looked at the -- is it still       15         Q. Did Palmetto ever implement this
16   called drug pricing procedure or does it have a   16     criteria in classifying drugs as generic or
17   different name?                                   17     brands?
18      A. I don't recall the exact name.              18         A. Yes.
19      Q. How about in the 1999 to 2004 time          19         Q. And can you tell me when they used this
20   period, do you know one way or the other whether 20      criteria?
21   this document was publicly available? What I      21         A. This looks like it's in reference to
22   mean by that, was it published on your Web site   22     the hard copy manuals the way it is written.


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                                                   42                                                        44
 1      Q. When you mean by hard copy manuals you         1   marked for identification.)
 2   mean --                                              2           BY MR. GORTNER:
 3      A. The Redbook, the hard copy monthlies.          3       Q. And I'm going to hand you what's been
 4      Q. So when they look to the paper version,        4   marked as Roxane 253. I'll represent to you it's
 5   they would use this criteria for classifying a       5   an excerpt of the 2000 annual Redbook that has in
 6   drug as a generic or a brand, is that right?         6   the middle and the right column the listings for
 7      A. That's right.                                  7   Ipratropium Bromide just to orient you, Mrs.
 8      Q. Now, that's a different criteria than          8   Stone. Let me know if you locate the entries for
 9   what you said Palmetto used with respect to          9   Ipratropium Bromide in there.
10   NovaPlus Ipratropium Bromide in your declaration;   10       A. Yes, I have them.
11   isn't that right?                                   11       Q. Okay. Now, referring to this criteria
12           MR. FAUCI: Objection to form.               12   that's listed in the Palmetto drug pricing
13           BY MR. GORTNER:                             13   procedure, the document we were looking at a
14      Q. And I'll refer you specifically to            14   moment ago, that in a nutshell was referring to
15   Paragraph 8 of your declaration if that helps you   15   whether the product was -- whether it had a
16   on Page 3.                                          16   capitalized name and then a smaller cap name
17      A. Here it is making reference to how they       17   underneath it. And I'm simplifying that, that
18   are defined on the CD in 8. There are two           18   statement, just to orientate you to this
19   different names on the CD and if they differed,     19   document, okay? So, for instance, if you look on
20   then that name was considered branded product.      20   the far right column of the Roxane 253, you'll
21      Q. My question was: That criteria,               21   see that there's an entry there for Ipratropium
22   whether the name is different than -- let me ask    22   Bromide Hydrous. Do you see that, Medisca?
                                                   43                                                        45
 1   you to stop there. What are you referring to?      1         A. Um-hum.
 2       A. There is a product name or a generic        2         Q. And looking at the drug pricing
 3   name of a drug such as Ipratropium Bromide. If 3         criteria, there is a boldface upper-case name,
 4   anything is added to or differentiates from        4     right, that reads Ipratropium Bromide Hydrous,
 5   Ipratropium Bromide, it is considered branded.     5     Medisca, do you see that?
 6       Q. But that applies to the Redbook CD's,       6         A. Right.
 7   if you're looking at the Redbook CD's, is that     7         Q. And then it says: If there's another
 8   what you're saying?                                8     drug immediately below it in lower-case, parens,
 9          MR. FAUCI: Objection to form.               9     the generic name, the entry is generally a brand.
10          THE WITNESS: I would have to see the       10     You see there's a lower-case Ipratropium Bromide,
11   situation in the hard copy because I haven't, you 11     the generic name underneath it?
12   know, really looked at every situation.           12         A. Um-hum.
13          BY MR. GORTNER:                            13         Q. Do you see that? So would that --
14       Q. Okay. Let's --                             14     using that drug pricing criteria, that would lead
15       A. Specifically NovaPlus, I don't think       15     you to believe that that product would be
16   I've seen it in the hard copy to say how it's     16     generally a brand, is that right?
17   listed to confirm that.                           17         A. Yes.
18       Q. Okay. Well, let's take a look at a         18         Q. And then directly above it you see the
19   hard copy. Let's mark this as Roxane 253.         19     Roxane entries, there are three NDC's there?
20          MR. GORTNER: This is 253, counsel.         20         A. Yes.
21          (Exhibit Roxane 253, Document entitled     21         Q. And in that instance there's not a bold
22   Redbook 2000 Drug Topics, with attachments, was 22       upper-case name followed by the lower-case


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                                                    46                                                       48
 1   generic entry underneath it, right?                  1   we were also using CD's.
 2      A. That's correct.                                2       Q. I understand that. We'll talk about
 3      Q. And that would -- under the criteria of        3   that in a moment. I'm just saying based upon the
 4   Palmetto's desk pricing procedure, that would        4   paper copies, all those entries would be
 5   lead you to believe that those entries would be      5   considered generic, wouldn't they?
 6   generic drugs, right?                                6       A. Yes.
 7      A. Looking at this, yes.                          7       Q. Now, the earlier question I asked you,
 8      Q. Okay. Let's now look at another hard           8   which was whether the methodology that Palmetto
 9   copy of Redbook. Let's mark this Roxane Exhibit      9   used differed from CD's to hard copies. This is
10   254.                                                10   a different methodology, isn't it, than what you
11          (Exhibit Roxane 254, Document entitled       11   were using for the CD's?
12   Redbook 2001 Drug Topics, with attachments, was     12       A. If you note --
13   marked for identification.)                         13          MR. FAUCI: Objection to form.
14          BY MR. GORTNER:                              14          THE WITNESS: If you note in our
15      Q. This is just the next year, the 2001          15   procedure it says, let's see, lower-case entries
16   annual update of the Redbook. And I will turn to    16   are generally brands and when we were using the
17   the right page for Ipratropium Bromide which        17   CD's, I think that is when we became aware of
18   begins midway on the left-hand column.              18   branded generics but that's not reflected in the
19          MR. GORTNER: Counsel, this is 254.           19   procedure.
20          BY MR. GORTNER:                              20          BY MR. GORTNER:
21      Q. And if you look in the middle of what         21       Q. Okay. My question is just that the
22   we've marked as Roxane 254, the 2001 angle          22   reflected procedure there in the Palmetto drug
                                                    47                                                       49
 1   Redbook, in the middle column on Page 368 do you     1   pricing procedure is looking at whether a drug is
 2   see again there's that Ipratropium Bromide           2   capitalized and boldfaced with a lower-case
 3   Hydrous that has the bold upper-case all caps        3   generic name under it and that's the criteria you
 4   name, smaller generic name underneath it, do you     4   were using at least for hard copies to determine
 5   see that?                                            5   whether a drug was generic or brand.
 6       A. Um-hum.                                       6      A. Yes.
 7       Q. That same entry that would lead you to        7          MR. FAUCI: Objection to form.
 8   believe it was a brand, correct?                     8          BY MR. GORTNER:
 9       A. That is correct.                              9      Q. Now, I understand that when you went to
10       Q. And then above you can see there are         10   the Redbook CD's, the Redbook CD's had a
11   now six entries under the Roxane drug, do you see   11   different way of listing the products, which
12   that? There are three top entries that have         12   we'll talk about in a moment, is that fair?
13   NDC's 00054-8402 and then there are the bottom      13      A. Yes.
14   three NDC's that begin with the 0054-8404. Do       14      Q. And based upon when you would be
15   you see that, six total?                            15   looking at the Redbook CD's, you applied a
16       A. Yes.                                         16   different criteria than what's in that drug
17       Q. And all of those, as was the case with       17   pricing procedure manual, you looked to whether
18   the NDC's we looked at in the 2000 Redbook,         18   the product had some name in addition or
19   they're not underneath an entry that has a name     19   different than the generic name, am I stating
20   in all bold caps with the lower-case generic name   20   that fairly?
21   underneath, right?                                  21          MR. FAUCI: Objection to form.
22       A. That is correct, but during this time        22          THE WITNESS: Yes.


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                                                    50                                                       52
 1          BY MR. GORTNER:                               1   them.
 2      Q. Okay. Well, let's have a look --               2      Q. But you knew that that was an available
 3   actually, why don't we take a quick break off the    3   option to you, that if Palmetto was unsure
 4   record if you would like, we'll take a real quick    4   whether a drug should be classified as a generic
 5   one this time today, Jeff, and then we'll come       5   or brand, it could turn to the Physician's Desk
 6   back. Thanks.                                        6   Reference, it could turn to the drug company,
 7          VIDEO TECHNICIAN: This concludes              7   call up the drug company and ask it or it could
 8   Videotape Number 1 in the videotape deposition of    8   call Redbook as well and get clarification, isn't
 9   Robin Stone, 30(b)(1) and 30(b)(6)                   9   that right?
10   representative. The time is approximately 12:53     10      A. Yes.
11   PM. We are now off the record.                      11          MR. FAUCI: Objection to form.
12          (A recess transpired.)                       12          BY MR. GORTNER:
13          VIDEO TECHNICIAN: We are now back on         13      Q. You don't have any recollection of ever
14   the record. Today's date is October 14, 2009.       14   doing that with respect to a generic or brand
15   The time is 1:02 PM. This is Tape Number 2 in       15   classification?
16   the videotape deposition of Robin Stone, 30(b)(1)   16      A. Not -- I don't recall a specific
17   and 30(b)(6) representative of Palmetto DMERC.      17   situation where that may have occurred.
18          BY MR. GORTNER:                              18      Q. And what's your understanding of why
19      Q. Okay, Mrs. Stone, going back to the           19   the provision would include telephone the drug
20   drug pricing procedure I had marked as Roxane       20   company as an option to determine whether a drug
21   Exhibit 42 and in particular that section at the    21   was generic or brand?
22   bottom there that indicates how to distinguish      22      A. I don't recall why. Like I said, I
                                                    51                                                       53
 1   between generic and brands. There's a carryover      1   don't recall why that sentence was added.
 2   sentence at the bottom of Page 2 of the actual       2       Q. Is that something that you as someone
 3   drug pricing document, from 2 to 3, that says:       3   in charge for a period of time of supervising
 4   If there is a question as to whether a drug is a     4   these arrays and these classifications, is
 5   brand or generic, consult the PDR, which I           5   telephoning a drug company something that you
 6   imagine is the Physicians Desk Reference,            6   would consider to be helpful in determining
 7   Generics, telephone the drug company or Redbook      7   whether a drug was a generic or a brand?
 8   itself and it gives an 800 number for Redbook.       8       A. Probably. I mean, you know, if that
 9           Do you recall ever consulting any of         9   came up to question, you know, to determine it.
10   those potential sources to help determine whether   10   Like I said, though, I don't know if we ever
11   a drug was a generic or a brand?                    11   would have had a reason to.
12       A. I don't recall specifically looking for      12       Q. Do you recall ever looking at other
13   generic or brand in the PDR. I know they've used    13   compendium, like the First DataBank blue book,
14   reference to the PDR and I can't recall the         14   for instance, are you familiar with that
15   context of that particular sentence. I know they    15   compendia?
16   used -- they would consult with medical directors   16       A. A little bit. Usually we refer to it
17   and nurses occasionally first and then refer to     17   if we couldn't find it in Redbook.
18   other sources but I don't recall if PDR or if a     18       Q. You're aware, though, that nothing
19   telephone call was made to the drug company or      19   limited you to just the Redbook, is that right?
20   Redbook specifically on any occasion. I mean, we    20          MR. FAUCI: Objection to form.
21   have called Redbook but I don't know in what        21          THE WITNESS: I can't recall the
22   context or what content we would have contacted     22   details in the CMS IOM. I think they just listed


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 1   sources that we could use.                           1   differences and I think somewhere we, you know,
 2          BY MR. GORTNER:                               2   got into discussion as to generic versus branded
 3      Q. Would it surprise you that they listed         3   generic and the decision was made that if it's
 4   the First DataBank blue book as a source?            4   branded at all, it is considered a brand.
 5      A. I think they did list that in there            5      Q. Okay. Can you explain to me more what
 6   and, like I said, it was our policy that if we       6   that means, just --
 7   didn't find it in Redbook, then we would refer to    7      A. That is where if the product name
 8   Medi-Span.                                           8   versus the -- I don't know exactly what it's
 9      Q. Let me actually repeat the question            9   called, it's the drug name on the CD, if it
10   because we talked over each other just for a        10   differs, then it's considered a branded generic.
11   moment there. Were you aware that the HCFA          11   And in that case, for example, this Ipratropium
12   program memorandum directed to you with respect     12   Hydrous may have showed the hydrous. And then
13   to drug pricing allowed you to consider sources     13   the Ipratropium, even though the generic name
14   such as First DataBank blue book?                   14   matched, the hydrous added on to it, it made it
15      A. Yes.                                          15   branded and that's how we -- you know, if it
16      Q. Were you also aware that you could            16   differentiated it in any way, we considered it a
17   consult sources like Medi-Span?                     17   brand because of the term branded generic.
18      A. Yes.                                          18      Q. And how was that decision made? Can
19      Q. You could look to those compendia for         19   you explain to me the decision-making process of
20   AWP prices; isn't that right?                       20   who made it?
21      A. Yes.                                          21      A. I don't recall the exact decisions
22      Q. And you could look at those compendia         22   behind it, I just recall at one point in time,
                                                   55                                                       57
 1   and help you determine whether a drug was generic    1   you know, we always saw things as either branded
 2   or brand, right?                                     2   or generic and then branded generic got thrown
 3          MR. FAUCI: Objection to form.                 3   in. And the decision was if it had a brand -- if
 4          THE WITNESS: Yes.                             4   it was a brand of generic, thereby the names
 5          BY MR. GORTNER:                               5   differentiating it, we classified it as brand.
 6      Q. Do you have any recollection of ever           6       Q. When you say we, you mean Palmetto
 7   looking at other compendia to determine whether a    7   internally?
 8   drug was a generic or a brand?                       8       A. Palmetto, yes.
 9      A. I don't recall.                                9       Q. So what happened was that internally
10      Q. Did you know that First DataBank blue         10   the individuals responsible for making policy
11   book, for instance, has six different indicators    11   decisions at Palmetto made a determination that
12   of whether a drug is a generic?                     12   if a product name had the generic name in its
13      A. No, I did not.                                13   title and something additional, you would
14      Q. Did the issue of how to properly              14   classify that as a brand for purposes of the
15   classify drugs as brands or generics ever come up   15   arrays?
16   in discussions with other DMERC representatives?    16       A. Yes.
17      A. I can't recall getting into                   17           MR. FAUCI: Objection to form.
18   conversations specifically as to, you know,         18           BY MR. GORTNER:
19   defining them. I know internally it had come up     19       Q. And that criteria was developed
20   trying to distinguish, you know, between I think    20   internally by Palmetto?
21   when we began using the generics when we were       21           MR. FAUCI: Objection to form.
22   looking at products versus the drug name and saw    22           THE WITNESS: As far as I can recall it


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 1   was an internal policy. I don't know if it was,      1          BY MR. GORTNER:
 2   you know, made with collaboration with other         2       Q. Is it possible that it would have been
 3   contractors or carriers or not.                      3   a decision that was made within Palmetto and
 4          BY MR. GORTNER:                               4   implemented verbally and not written down in some
 5       Q. Do you know who would have been               5   manual or some drug procedure guide?
 6   involved in that decision-making process?            6       A. That is possible due to the constant
 7       A. Probably either nurses by, you know, my       7   change that we're up against.
 8   direct report and, you know, sometimes, I don't      8       Q. Now, in practice from the time period
 9   know if this particular instance would have been     9   of approximately 2000, 2004, that's the time
10   something that we would have consulted CMS on or    10   frame I want to focus on because that's the time
11   not, I don't know.                                  11   period when the NovaPlus Ipratropium Bromide was
12       Q. Who's your direct report?                    12   in the arrays approximately. Palmetto looked
13       A. Carol Courtney at that time.                 13   only to the Redbook publishing compendia to
14       Q. What was her job duty?                       14   obtain AWP's, is that right?
15       A. She was my manager at one point and          15       A. 2000 and 2004. I want to say yes but
16   director at another.                                16   I'm not 100 percent positive. I don't recall
17       Q. But you weren't involved in that             17   using Medi-Span or First DataBank or whatever for
18   decision-making process?                            18   DMERC drugs at that point. I don't know that the
19       A. We would have sat down and discussed         19   other carriers did either.
20   it, yes.                                            20       Q. And I'll represent to you of the arrays
21       Q. Do you have a specific recollection of       21   that we have from that time period, 2000 and
22   being involved in that decision?                    22   2004, the indications on the arrays uniformly

                                                   59                                                       61
 1       A. I remember, you know, partially Pat           1   indicate that the pricing sources are, in fact,
 2   tossing it around when we found out that there       2   from Redbook.
 3   were branded generics. I don't recall when or,       3       A. I would say that that's probably true.
 4   you know, all the details but whenever decisions     4   Again, like I mentioned previously, if there
 5   were made we would usually consult medical -- our    5   wasn't a source available, we may have referred
 6   medical staff and others, you know, to just see      6   to Medi-Span or First DataBank if we had that
 7   if they're on the right track.                       7   source, I can't remember, but it seems like we
 8       Q. Who was tossing it around that you            8   had stopped that expense at some point because it
 9   mentioned?                                           9   was rarely used.
10       A. Well, it would have been within our          10       Q. Now, with respect to using Redbook, was
11   department and we would have probably consulted     11   there an internal decision at some point in time
12   with medical staff and possibly CMS. I don't        12   to rely on the Redbook compendia for prices and
13   recall if that topic was, you know, directly        13   not other compendia during this 2000, 2004 time
14   mentioned to CMS or not.                            14   period?
15       Q. And did this decision that you're            15       A. Say that again, please.
16   talking about in terms of categorizing a drug       16       Q. Was there a decision that was made at
17   that would have a generic name in its title as      17   Palmetto at some point to use either principally
18   well as something in addition as a brand, was       18   or exclusively the Redbook compendia rather than
19   that policy memorialized in a document anywhere?    19   other compendia for creating the arrays?
20          MR. FAUCI: Objection to form.                20          MR. FAUCI: Object to the form.
21          THE WITNESS: I'm not sure. I'm not           21          THE WITNESS: You know, I don't know
22   sure.                                               22   what -- what or why we just used Redbook. At


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 1   that time, like I said, on DMERC we collaborated     1   Palmetto DMERC, and I'll say or outside of HCFA
 2   with for DMERC so I don't know if that had any       2   CMS or the other DMERC's, know which particular
 3   play in it or not.                                   3   format of Redbook you were using to create
 4          BY MR. GORTNER:                               4   pricing arrays?
 5       Q. But would your expectation be that            5         MR. FAUCI: Objection to form.
 6   either Palmetto itself or the other DMERC's in       6         THE WITNESS: Outside?
 7   conjunction decided to use Redbook for their         7         BY MR. GORTNER:
 8   arrays rather than some other compendia?             8       Q. Yeah.
 9       A. Probably. I mean, we used Redbook, I'm        9       A. Of CMS or Palmetto GBA? I'm not sure.
10   sure it was for a reason.                           10   For some reason I want to think that there may
11       Q. Do you know the reason?                      11   have been some type of publication that may have
12       A. Probably because we had to pick, you         12   addressed that but I'm not positive.
13   know, the one that we were most familiar with       13       Q. You're not aware sitting here today of
14   because you can't sit there and go through and      14   any publication that said we're using the Redbook
15   use all sources, you know, every time because we    15   CD/ROM rather than the annual update, for
16   were on a time frame. It was a lot of work.         16   instance?
17       Q. A lot of time pressures to create the        17       A. Probably not, but I'm not positive.
18   arrays?                                             18       Q. How would you find that out?
19       A. Yeah.                                        19       A. You'd have to do some extensive search
20       Q. You also indicated that Palmetto             20   through old advisories but I would think that if
21   transitioned at various times to different types    21   it was published, it would have been published in
22   of Redbooks, that sometimes you were using the      22   any of our drug fee schedule publications.
                                                   63                                                       65
 1   annual Redbook and then you started using a          1       Q. And what was the intended audience, if
 2   CD/ROM and then at one point I think you went to     2   you know, of those publications? Was that so the
 3   an Internet-based Redbook. Do you generally          3   providers could see what they were going to get
 4   recall that?                                         4   paid for a particular drug?
 5      A. Yes.                                           5          MR. FAUCI: Objection to form.
 6      Q. And how were those decisions made? How         6          THE WITNESS: Yes.
 7   were decisions made to use different types of        7          BY MR. GORTNER:
 8   Redbook, in some cases electronic, in some cases     8       Q. And were those advisories ever mailed
 9   paper copies?                                        9   to providers directly or how were they made
10      A. Well, initially I don't think we were         10   available?
11   aware even if it was available in CD/ROM so of      11       A. I'm not real sure, I wasn't in that
12   course it started out hard copy. Then with          12   department. You know, I want to think that at
13   technology, as anything changes, we moved towards   13   one time they mailed them. As with technology
14   the newer technology and used the CD/ROM's. In      14   they probably pushed them through e-mail or
15   that case I think the only time we used the hard    15   whatever they use but I don't work in that
16   copy is if it had the drug that had a more          16   department.
17   current AWP.                                        17       Q. And you're not aware, are you, of any
18      Q. So there was a convenience factor in          18   statute or any regulation that would require
19   switching to the electronic version versus the      19   Palmetto to use the Redbook CD/ROM versus some
20   paper copy?                                         20   other version of Redbook?
21      A. I'm sure that came into play.                 21          MR. FAUCI: Objection to form.
22      Q. Now, would someone outside of the             22          THE WITNESS: Not specifically saying


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                                                    66                                                       68
 1   that you have to use this over this. I think         1          MR. FAUCI: Objection to form.
 2   they gave an option.                                 2          THE WITNESS: Yes.
 3          BY MR. GORTNER:                               3          BY MR. GORTNER:
 4      Q. What kind of option?                           4       Q. Let's take a look at some of the
 5      A. Well, I'm just trying to think back in         5   Redbook CD/ROM printouts. And what I'd like to
 6   the old carrier's manual. I know it makes            6   do is mark this as Roxane Exhibit 255.
 7   reference to them and I think it just says like      7          (Exhibit Roxane 255, Document entitled
 8   Redbook Medi-Span.                                   8   DMERC Medication Pricing, with attachments, was
 9      Q. So as far as you knew, you had                 9   marked for identification.)
10   discretion to use any version of Redbook that you   10          BY MR. GORTNER:
11   thought was appropriate, right?                     11       Q. It's in two different sheets but we'll
12      A. As far as I know, yes.                        12   just start with the top one. And I'll represent
13      Q. And as far as you knew, Palmetto had          13   to you that these are some additional documents
14   discretion to use any publishing compendia like     14   that were produced by Miss Helton from the Cigna
15   Medi-Span or First DataBank if they thought it      15   carrier. And we haven't had a chance to talk to
16   was appropriate, right?                             16   her yet about these documents but they appear to
17      A. Yes.                                          17   be a collection if you flip through, even the
18      Q. Okay, turning to your declaration,            18   first one that's marked there, of the array and
19   which is the exhibit there to your left that we     19   then several pages back you'll see that she's
20   marked earlier as Roxane 252. And in particular     20   including printouts from the Redbook CD/ROM's.
21   I want to focus again on Paragraph 8 of your        21   One is a product information screening that lists
22   declaration.                                        22   products and then one is a screening that's
                                                    67                                                       69
 1         MR. FAUCI: I'll just note for the              1   called detailed product information that also
 2   record that the declaration had exhibits that are    2   lists the products.
 3   not made part of the record.                         3           And maybe I'll point you in particular
 4         BY MR. GORTNER:                                4   if you don't mind flipping to what's Bates
 5      Q. And you attest to in Paragraph 8 that          5   labeled at the bottom Cigna 0109. It's a little
 6   Palmetto classified products as brands or            6   bit further on in there but we'll be talking
 7   generics based on the product name, correct?         7   about 109 through 119. If you wouldn't mind just
 8      A. Name, yes.                                     8   flipping through 109 to 119 quickly just to
 9      Q. And you also state that if the product         9   familiarize yourself with those pages and I'll
10   name differed from the chemical name, we            10   ask you some questions.
11   considered it a brand, right?                       11           MR. FAUCI: Feel free to familiarize
12      A. Right.                                        12   yourself with the documents generally.
13      Q. And is this that criteria that you're         13           THE WITNESS: Okay.
14   talking about that was developed -- that was        14           BY MR. GORTNER:
15   developed internally that if the product had        15       Q. And just so if it helps you, Mrs.
16   something in addition to the chemical name, it      16   Stone, to clarify, what I'm really using this
17   would be treated as a brand?                        17   document for is to illustrate the Redbook
18      A. Yes.                                          18   printouts that are behind the arrays. I won't be
19         MR. FAUCI: Objection to form.                 19   asking you any detailed questions about Cigna's
20         BY MR. GORTNER:                               20   arrays or anything of that sort, I just -- she
21      Q. And that applied to when you were             21   happened to collect the printouts in a way that
22   looking at the CD/ROM's, right?                     22   might be easier for us to talk about them than


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 1   the ones that were on the CD's that you produced     1   correct?
 2   to us, so in particular page Bates labeled 1 --      2      A. Yes.
 3   110, 110 and 111, those sequence of pages are        3      Q. Okay. And then turning over to the
 4   really the ones that I'll be asking you about.       4   detailed product information, you can -- on the
 5       A. Okay.                                         5   screen you can click on a tab, right, that will
 6       Q. And if you could turn to page Cigna           6   show you, for instance, for Atrovent, which is on
 7   0110, the page that says Redbook for TM Windows      7   0111 at the top, it gives information about that
 8   at the top, product information.                     8   product, the product name, and it also includes
 9       A. What number was it again?                     9   the generic name, doesn't it, under Ipratropium
10       Q. I'm sorry, Cigna 0110. Are you there?        10   Bromide?
11       A. Um-hum.                                      11      A. Yes.
12       Q. And up on the right it has a release         12      Q. Let's take a look first at the name
13   October 2000 and a list of product information      13   Atrovent. Are you familiar with that, with that
14   and this appears to be product information          14   product from the pricing arrays that Palmetto
15   related to the various Ipratropium Bromides on      15   created?
16   that Redbook CD?                                    16      A. Yes.
17       A. Um-hum.                                      17      Q. And you classified it as a brand all
18       Q. Do you see that? And are you familiar        18   the time, didn't you?
19   with that screen from the Redbook CD/ROM?           19      A. Yes.
20       A. Yes.                                         20      Q. And that product name is -- Atrovent is
21       Q. Okay. And then in the next page over         21   not the generic name of Ipratropium Bromide,
22   Bates labeled Cigna 01111 (sic) it has printouts    22   right?
                                                    71                                                       73
 1   of what's called the detailed product information    1      A. I'm sorry, say that again.
 2   for each one of these NDC's, do you see that?        2      Q. The product name Atrovent --
 3       A. Um-hum.                                       3      A. Right. Right. I'm sorry.
 4       Q. And you're familiar with that screen as       4      Q. Let me repeat the question.
 5   well, right?                                         5      A. Concentration. I'm okay. Yes.
 6       A. Yes.                                          6      Q. That's not -- Atrovent is not the same
 7       Q. And these types of screens were               7   thing as Ipratropium Bromide, the generic name,
 8   routinely on all the Redbook CD's that you used      8   right?
 9   to creat the Palmetto arrays?                        9      A. That's right.
10       A. Um-hum.                                      10      Q. And in your experience in creating
11       Q. You have to answer verbally. Is that a       11   pricing arrays -- well, let me ask you this
12   yes?                                                12   question: Are you generally familiar in the
13       A. Oh, yes.                                     13   process of creating these arrays over time and
14       Q. Okay. And so what's on these Redbook         14   supervising the arrays was typical naming
15   CD's that you used is first, that's a list of all   15   conventions in the pharmaceutical industry for
16   the product names, if you will, under the column    16   generic versus brand drugs?
17   product there on Page 110?                          17          MR. FAUCI: Objection to form.
18       A. Right.                                       18          THE WITNESS: Yes.
19       Q. Do you see that? And then it gives a         19          BY MR. GORTNER:
20   list of who the manufacturer is, the specific       20      Q. And the notion that Atrovent, which is
21   NDC, and then AWP's and WAC's if they're            21   a name that's not the underlying generic chemical
22   available are on the last two columns, is that      22   compound, isn't that a typical name that you see


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 1   in brand drugs? What I mean by that is using a       1   that also has a generic yes indicator from
 2   name like Atrovent or a name like Tylenol or a       2   Redbook, correct?
 3   name like Valium which are names that don't refer    3       A. Yes.
 4   to the underlying generic chemical compound.         4       Q. And there are a couple other products
 5       A. That would be true, yes.                      5   we can flip to the bottom of Page 0115 which is
 6       Q. But that's pretty standard, isn't it --       6   also labeled Page 5 on the Redbook printout and
 7       A. Um-hum.                                       7   there's Roxane's label, Ipratropium Bromide, and
 8       Q. -- based upon your experience?                8   that was also called Ipratropium Bromide, right?
 9       A. Yes.                                          9       A. Right.
10       Q. Now, looking at the detailed product         10       Q. And you classified that as a generic in
11   information for Atrovent, you can see that it has   11   your arrays at all times, didn't you?
12   the product name up top, it has the generic name    12       A. Yes.
13   underneath there, right, Ipratropium Bromide?       13       Q. And you can see again that in the
14       A. Right.                                       14   generic field indicator from Redbook, that's
15       Q. Then it also has a field at the bottom       15   telling you that that's a generic product,
16   there that says generic, then it has in parens      16   correct?
17   Y/N. Do you understand that to be is it a           17       A. Correct.
18   generic, yes or no, according to Redbook?           18       Q. And that's the same for all the other
19       A. Yes.                                         19   Roxane labeled products there listed on Page 6 of
20       Q. You see there it has an N for no,            20   the Redbook printout. And if you skip ahead now
21   right?                                              21   to Page 8 of the Redbook printout and Page 9,
22       A. Yes.                                         22   which is Bates labeled Cigna 0118 and 19, there
                                                    75                                                       77
 1       Q. Right. And you could look at that and         1   you'll see the entries for the product names
 2   see that Redbook was telling you this is not a       2   Ipratropium Bromide and then it has a dash
 3   generic product, this is a brand product, right?     3   NovaPlus, do you see that?
 4       A. Right.                                        4      A. Um-hum.
 5       Q. Okay. Now, looking at the next entry          5      Q. And it has Roxane as the manufacturer,
 6   below that, there's a product from Allscripts and    6   correct?
 7   it's called Ipratropium Bromide, right?              7      A. Right.
 8       A. Um-hum.                                       8      Q. And it also has the generic name listed
 9       Q. And there the generic indicator says          9   there, Ipratropium Bromide, correct?
10   yes, this is a generic product, correct?            10      A. Correct.
11       A. Right.                                       11      Q. And then it also has another generic
12       Q. And if you flip through to the next          12   indicator. It indicates that, yes, this is a
13   page, you'll see there's an entry there for         13   generic drug, right?
14   Alpharma which is also called Ipratropium           14      A. Right.
15   Bromide, right?                                     15      Q. And it's the same for the other
16       A. Um-hum.                                      16   NovaPlus entries below, there's a different
17       Q. And there again Redbook is indicating        17   package site below that and one on Page 9 and all
18   to you that the product is a generic product,       18   three of those Ipratropium Bromide NovaPlus
19   right?                                              19   entries, Redbook is telling you that it
20       A. That is correct.                             20   classifies its product as a generic, right?
21       Q. And then on Page 01113 (sic), there's        21      A. Right.
22   an entry for Dey's Ipratropium Bromide and again    22      Q. And this information was available to


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                                                   78                                                        80
 1   you when you were constructing your arrays,          1   are -- there is something considered generic,
 2   correct?                                             2   brand and branded generic.
 3      A. Yes.                                           3      Q. Okay. And what was Palmetto's
 4      Q. These were on all the CD's and you             4   definition of a branded generic?
 5   could see that and take that into account,           5      A. That again is the product name
 6   correct?                                             6   differing from the generic name and I think there
 7      A. Um-hum.                                        7   was probably still even a little confusion with
 8      Q. Did you, in fact, take into account            8   that in some cases because you may have something
 9   Redbook's designation of the Ipratropium Bromide     9   that has hydrochloride attached to it, you know,
10   NovaPlus products as a generic?                     10   and those types of things we would take to
11      A. If I recall, this is what prompted            11   medical staff and --
12   conversation that made us aware that there were     12      Q. Okay. So it was unclear how to
13   branded generics, which is not reflected on here,   13   categorize those particular drugs that had the
14   and at that time it was the decision that if        14   generic name in the title and something else, is
15   there was any branding, it was considered a brand   15   that fair to say?
16   product.                                            16      A. Yes.
17      Q. Okay. Let me make sure I understand           17          MR. FAUCI: Objection to form.
18   this. Was it -- you have a specific recollection    18          BY MR. GORTNER:
19   that it was this particular product?                19      Q. Was the answer yes?
20      A. No.                                           20      A. Yes. At one time, yes.
21      Q. Oh, okay. So let me take a step back          21      Q. At one time it was unclear and you
22   because I thought you told me earlier that you      22   weren't sure whether you should put that in as a
                                                   79                                                        81
 1   don't know when the decision was made on branded   1     generic or as a brand, is that right?
 2   generics.                                          2         A. Yes.
 3      A. I don't know the exact timing.               3         Q. Because it's a different -- you'd agree
 4      Q. So you don't know whether it had             4     with me it's a different name than when you have
 5   anything to do with the Ipratropium Bromide        5     exclusively a name that has nothing to do with
 6   NovaPlus?                                          6     the generic chemical name like an Atrovent or a
 7      A. Right. Right.                                7     Valium? In those situations in your mind is there
 8      Q. Do you have a specific recollection,         8     any ambiguity whether those should be classified
 9   though, that the decision was made before October  9     as a brand?
10   2000?                                             10         A. No.
11      A. That I don't know. I don't recall the       11         Q. But internally at Palmetto there was
12   timing when that was made. I would speculate      12     ambiguity about what to do with drugs like this
13   that when we started using the CD that we may     13     where there is a generic chemical name in the
14   have went into, you know, questions may have come 14     title and something else is in it as well?
15   up questioning whether or not because of our      15         A. Right.
16   policy that product name versus the generic name  16             MR. FAUCI: Objection to the form.
17   differed, you know, whether or not it was         17             THE WITNESS: Until we learned about
18   considered brand.                                 18     branded generics.
19          What I don't recall is where we got the    19             BY MR. GORTNER:
20   branded generic from. I don't know who brought    20         Q. And what you meant by branded generics
21   that to our attention of branded generic and I    21     were -- was a drug that has that particular kind
22   don't recall when we started realizing that there 22     of title and that's your understanding of a


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 1   branded generic?                                     1   cases they used the PDR, may have been cases
 2          MR. FAUCI: Object to the form.                2   where they contacted Redbook but I don't know
 3          THE WITNESS: I want to think that             3   every, you know, situation that that might have
 4   there is some type of classification of a branded    4   occurred in.
 5   generic.                                             5       Q. You don't know that. But there was a
 6          BY MR. GORTNER:                               6   process where if there were questions by the
 7      Q. Why, have you ever heard of a situation        7   front-line staff, if you will, the staff that was
 8   where there are drugs that have multiple             8   actually creating the arrays and making the
 9   competing products in the marketplace but they       9   initial determinations, if they had questions
10   give themselves a brand name like -- ever heard     10   there was a chain of command they could go up
11   of a drug called Oxycodone, for instance?           11   within Palmetto or they could turn to outside
12      A. I'm not sure dealing with all the drugs       12   resources?
13   we work with every day, I'm not sure. Oxy what?     13       A. True.
14      Q. Okay. I just want to make sure that           14       Q. Now, with respect to Ipratropium
15   you weren't trying to make -- it doesn't sound      15   Bromide NovaPlus, do you have any specific
16   like Palmetto was trying to make a determination    16   recollection about the decision-making process
17   of what was the pharmaceutical industry's           17   that Palmetto went through to categorize that
18   understanding of what a branded generic is,         18   product as a brand or a generic?
19   right, that wasn't your goal --                     19       A. Other than the fact that the NovaPlus
20          MR. FAUCI: Objection to form.                20   -- I don't know if they specifically, you know,
21          BY MR. GORTNER:                              21   called or found out that it had a branded generic
22      Q. -- was to figure out what the                 22   or not, you know, or if it was just taken off
                                                   83                                                       85
 1   pharmaceutical industry understands a branded        1   that the product name and the additional
 2   generic to be, right?                                2   description differed but I would speculate that
 3       A. We were just basing it off if it was          3   it was based on the product name in comparison to
 4   considered branded, it was a brand product.          4   the generic name in this situation because
 5       Q. I understand that. I just want to --          5   NovaPlus, I mean, as far as I know, doesn't
 6   it may be more helpful if we refer to the actual     6   indicate, you know, anything that we would have
 7   rule that you implement. And the rule that you       7   been familiar as a diluent lender such.
 8   are telling me that you implemented at some point    8       Q. Okay. So -- but when you're testifying
 9   in time was if the product had the generic           9   now about what actually specifically occurred
10   chemical name in its title and any additional       10   with putting the Ipratropium Bromide NovaPlus
11   name, it would be -- it should have been            11   into the brand arrays, you don't have a specific
12   categorized as a brand according to Palmetto's      12   recollection of what either you did, if anything,
13   procedures, is that right?                          13   related to that decision or --
14       A. It would depend on the differentiation       14       A. If it was just following the procedure.
15   in the drug name. There may have been some --       15       Q. Right.
16   some situation where it might have added            16       A. But I would speculate it was following
17   something that might have been considered a         17   the procedure.
18   diluent on the end which would differ from a        18          MR. FAUCI: Objection to form.
19   company placing what we called a branded name on    19          BY MR. GORTNER:
20   the end. And if it was questionable, the staff      20       Q. But just to use your word, you're
21   would discuss it with our medical staff or          21   speculating on how that actually occurred, right?
22   whatever that might be -- there may have been       22          MR. FAUCI: Objection to form.


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 1          THE WITNESS: Following, you know, the         1   drugs were even being submitted for reimbursement
 2   -- our comparison of the product to generic name,    2   to Medicare?
 3   it would have been branded.                          3      A. Nope.
 4          BY MR. GORTNER:                               4      Q. Did you have any understanding whether
 5       Q. And you said a moment ago about the           5   the provider community understood this drug
 6   diluent -- are you referring to situations with a    6   generally to be a generic or a brand?
 7   product name as Ipratropium Bromide                  7          MR. FAUCI: Objection to form.
 8   hydrochloride, just to throw that name out there,    8          THE WITNESS: No, not unless they
 9   how would that be categorized under your             9   brought it to our attention and I don't recall,
10   procedure?                                          10   you know, any communication to that off the top
11       A. It's been a long time since we've            11   of my head.
12   actually been calculating drugs and I can't         12          BY MR. GORTNER:
13   recall exactly but I think that is a situation      13      Q. Did you have any understanding whether
14   that was questionable.                              14   Roxane understood this product to be a generic or
15       Q. And what happens when it's                   15   a brand?
16   questionable?                                       16      A. No.
17       A. That's when they ask -- they go to           17      Q. And going back to that initial
18   medical staff to try and find determination.        18   question. So at the time that you had these
19       Q. But was there a rule internally at           19   Redbook CD printouts that were telling you that
20   Palmetto that if it had a diluent name on it, it    20   this was a generic drug, what did you do with
21   would classify it as a generic versus a brand?      21   that information here in the generic code that
22       A. I can't remember. I don't recall the         22   was saying yes to you?
                                                    87                                                       89
 1   final decision on that but I do know that that       1       A. Say that again, I'm sorry.
 2   was a situation that was questioned but I haven't    2       Q. At the time that you had these Redbook
 3   been calculating drugs for some time now and         3   CD's and the generic field indicator in the
 4   don't look at those in comparison in how they        4   Redbook compendia is telling you that it
 5   might have been used. There's a lot of drugs out     5   considers the Ipratropium Bromide NovaPlus drugs
 6   there, a lot of drug sources.                        6   to be a generic, what did you do, if anything,
 7      Q. At the time or any time where these            7   with that information?
 8   arrays are being constructed with the Ipratropium    8       A. That's what prompted I think the
 9   Bromide NovaPlus in them, did you know about         9   communication or the discussion regarding, you
10   NovaPlus drugs? Was that a name you're familiar     10   know, questioning was it generic or brand because
11   with?                                               11   it didn't match -- product and generic name did
12      A. Not off the top of my head. I mean, we        12   not match. And as I stated before, that's when
13   didn't really pay attention to a certain company    13   we found out about branded generic and we
14   or drug name. Our goal was to get in there and      14   classified it as branded.
15   get the work done and get the fees out.             15       Q. Okay. Who -- I'm just trying to
16      Q. So I take it you didn't know that these       16   understand how you became informed about branded
17   were drugs that were being sold to Novation Group   17   generic. What does that mean?
18   Purchasing Organization, GPO members?               18       A. It's a term that was -- I don't know
19      A. No.                                           19   where it came from, who brought it to our
20      Q. You didn't know that?                         20   attention, but that's, you know, pretty much I
21      A. No.                                           21   think where we started looking at the difference
22      Q. Did you have any idea whether these           22   between the product name, any difference between


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 1   the product name and the generic name.               1   situation here where the compendia that you're
 2      Q. Okay. So some internal group at                2   relying upon, the Redbook compendia CD
 3   Palmetto --                                          3   specifically classifies a drug with that
 4      A. I'm not sure if it was internally or           4   particular title as a generic drug, that also
 5   not.                                                 5   created a source of potential ambiguity for how
 6      Q. You don't know who it was?                     6   you would classify the drug, is that right?
 7      A. I don't know who all the players were.         7       A. Yes.
 8      Q. You don't know who the players were but        8       Q. Now, why would that create ambiguity
 9   there was some internal decision-making process      9   for you where the compendia is specifically
10   about what to do in these circumstances where       10   telling you that this is a generic drug?
11   there's a generic chemical name and something       11       A. Because of the rule that we were
12   else in the title, right?                           12   following where the product differed from the
13      A. Right.                                        13   generic name.
14      Q. Have I got that right?                        14       Q. Okay. And in situations here where the
15      A. Yes.                                          15   product had the generic name and something else,
16      Q. And one of the reasons that that              16   it clearly didn't fit under that rule, is that
17   process occurred is because it's -- there is        17   right?
18   ambiguity with respect to that particular name,     18       A. Right.
19   there is a generic chemical name and something      19          MR. FAUCI: Objection to the form.
20   added to it and based on your rule, that fell       20          BY MR. GORTNER:
21   somewhere in the middle before you had this         21       Q. And what that requires you to do was to
22   internal decision process, is that right?           22   figure out -- for Palmetto to figure out what it
                                                    91                                                      93
 1           MR. FAUCI: Objection to form.                1   was going to do under these particular
 2           THE WITNESS: Say that again, I'm             2   circumstances where the product did not clearly
 3   sorry. I'm visualizing --                            3   fit the rule, is that right?
 4           BY MR. GORTNER:                              4       A. Yeah.
 5       Q. No, let me try this -- let me try to          5       Q. Okay. And what then happened
 6   break this into steps, it might be a little bit      6   thereafter was Palmetto either internally or you
 7   easier.                                              7   don't recall, maybe in consultation with other
 8       A. Okay.                                         8   people, came up with an additional rule which was
 9       Q. I'm just trying to understand what I          9   when we run across generic products that have the
10   think you're trying to explain about how Palmetto   10   generic chemical name in them and something else,
11   tried to make decisions and rules about how to      11   we will classify them as a brand, is that right?
12   classify a drug like Ipratropium Bromide            12           MR. FAUCI: Objection to form.
13   NovaPlus, okay?                                     13           THE WITNESS: It would have -- I think
14       A. Okay.                                        14   they did research, you know, I can't -- I can't
15       Q. So let me know if I got this correct. I      15   say, I wasn't doing it myself, they would call me
16   believe you were testifying that in situations      16   as they needed. But if it didn't match and if it
17   like this where you have a drug that has both a     17   was questionable, then they would do research to
18   generic name and something else added to its        18   try and make that determination.
19   title, that created ambiguity at Palmetto as to     19           BY MR. GORTNER:
20   whether to classify it as a brand or a generic?     20       Q. Okay. And this is an example of that
21       A. Yes.                                         21   where it didn't match those questionable, right?
22       Q. Okay. And furthermore, when you have a       22           MR. FAUCI: Objection to form.


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                                                    94                                                      96
 1           THE WITNESS: I can't say for certain         1   same $52.82 (sic) AWP?
 2   if that one would have been questionable because     2       A. Um-hum.
 3   it didn't match or that NovaPlus was considered      3          MR. FAUCI: Try and answer with yes or
 4   automatically branded because NovaPlus doesn't       4   no.
 5   make any reference to, say, another type of drug     5          THE WITNESS: Yes.
 6   or diluent, per se, but I would say that, you        6          MR. FAUCI: Thank you.
 7   know, it could have been questionable. I don't       7          BY MR. GORTNER:
 8   know or recall at this time if that particular       8       Q. Okay. Was that something that you ever
 9   drug was.                                            9   considered, the fact that the AWP's were
10           BY MR. GORTNER:                             10   identical between these two products and --
11       Q. Now, did you ever consider examining         11       A. It was not our procedure to go in and
12   the published AWP's between drugs that you          12   compare AWP's per se unless there was a reason,
13   weren't sure were generic and a brand with drugs    13   you know, for us to go in and look at a specific
14   that you knew for sure were a brand or drugs that   14   situation. This may have never been a situation
15   you knew for sure were generic?                     15   that, you know, anybody caught on to.
16       A. There were different types of analysis       16       Q. During your work supervising the array
17   done but I don't recall to what extent.             17   and construction process and working at Palmetto
18       Q. Let's take a look back at the product        18   over the years, were you generally familiar with
19   information sheet, the one that overall lists       19   the concept that brand AWP's for a product tended
20   them. It's on Cigna 0110, two pages back. I         20   to be higher than generic AWP's for product?
21   mean, just looking at the sheet, you can see that   21       A. That --
22   there are six Ipratropium Bromide products that     22          MR. FAUCI: Objection to form.
                                                    95                                                      97
 1   have Roxane as a manufacturer, right?                1           THE WITNESS: That was not always true.
 2      A. Um-hum.                                        2           BY MR. GORTNER:
 3      Q. And three of them have only the                3      Q. Was that something you investigated and
 4   Ipratropium Bromide generic name, no confusion       4   studied?
 5   there, right, that that's a generic product,         5      A. We had seen situations where brand was
 6   correct?                                             6   lower than generics.
 7      A. Right.                                         7      Q. But in this situation, I mean, there's
 8      Q. And three of them also have the                8   no doubt here that Atrovent is a brand, right?
 9   Ipratropium Bromide generic name but then have a     9      A. Right.
10   dash with NovaPlus added on the end, do you see     10      Q. You classified it as a brand every
11   that?                                               11   time, correct?
12      A. Yes.                                          12      A. Correct.
13      Q. And you can see that the package sizes        13      Q. And there's no doubt looking at this
14   respectively, they have identical AWP's, right?     14   sheet you agree with me on Cigna 110 that every
15   And if you look at the Roxane Ipratropium Bromide   15   single product on this sheet has the name
16   25's, they have an AWP of $44.06 and the            16   Ipratropium Bromide in it except for Atrovent;
17   Ipratropium Bromide NovaPlus 25's have the exact    17   isn't that right?
18   same $44.06 AWP. Do you see that?                   18      A. That's right.
19      A. Um-hum.                                       19      Q. Wouldn't that jump out at you that
20      Q. The same situation with the 30's, the         20   there's something specifically different about
21   Roxane generic product has $52.87 and the           21   Atrovent compared to all the other products?
22   Ipratropium Bromide NovaPlus 30's have the exact    22           MR. FAUCI: Objection to the form.


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                                                    98                                                      100
 1          THE WITNESS: No, because I know there         1   for pricing in generic versus brand
 2   were brand situations that were lower than           2   classifications?
 3   generics.                                            3          MR. FAUCI: Objection to form.
 4          BY MR. GORTNER:                               4          THE WITNESS: I'm not sure if I was
 5      Q. But in this situation you agree with me        5   aware of that or not. I mean, it doesn't -- it
 6   that the AWP for Atrovent for its 25's is $63.72?    6   doesn't ring a bell, it may have been, you know,
 7   Do you see that at the top?                          7   I may have come across it somewhere in time but
 8      A. Um-hum.                                        8   didn't think anything about it.
 9      Q. It was significantly higher than the           9          BY MR. GORTNER:
10   NovaPlus AWP's, right?                              10      Q. Do you know of any reason why the
11      A. Right.                                        11   Medicaid and Medicare program should be
12      Q. And significantly higher than the             12   classifying drugs as generics or brands
13   Roxane AWP's?                                       13   differently?
14      A. Right.                                        14          MR. FAUCI: Objection to form.
15      Q. In terms of your analysis of                  15          THE WITNESS: I'm not sure how they
16   Ipratropium Bromide NovaPlus and whether it         16   classify or calculate their drugs.
17   should be categorized as a generic or a brand,      17          BY MR. GORTNER:
18   would the fact that not only Redbook but that the   18      Q. What about the fact that DMERC-A
19   First DataBank on all six of its generic            19   classified its Ipratropium Bromide NovaPlus drugs
20   indicators identify the Ipratropium Bromide         20   as generics the entire time that you were
21   NovaPlus products as a generic, would that          21   classifying them as brands?
22   information have been useful to you in making       22      A. I don't recall ever seeing their actual
                                                    99                                                      101
 1   your determination?                                  1   worksheets at any given point. I don't know that
 2      A. I'm sorry, say that again.                     2   we would have even focused on that. Our goal was
 3          MR. GORTNER: Can you read that back to        3   to make sure our end result was the same. In
 4   her? Or I can repeat it.                             4   most cases our end result differed when we were
 5          (The Court Reporter read the question         5   using the database and the database may have
 6   commencing on Page 82 Line 21.)                      6   included more current AWP information. I don't
 7          BY MR. GORTNER:                               7   recall ever getting any -- into discussions
 8      Q. Let me repeat it, it will be easier.           8   whether they may have used a brand versus a
 9   Let me repeat my question. Would the fact that       9   generic product differently from us.
10   First DataBank on all six of its generic            10      Q. When you say that your focus was on
11   indicators identify the Ipratropium Bromide         11   making sure that the end result was the same,
12   NovaPlus product as a generic, would that have      12   what you mean by that is making sure that the fee
13   been useful information for you to evaluate in      13   payment that's set for that J code is the same
14   deciding whether this drug should be classified     14   across all four DMERC's, is that right?
15   as a brand or a generic in the arrays?              15      A. Yes.
16          MR. FAUCI: Objection to the form.            16      Q. And in this particular instance because
17          THE WITNESS: I'm not familiar with           17   the fee payment was at all times an Ipratropium
18   those classifications so I'm not sure without       18   Bromide NovaPlus in the arrays was being set by
19   seeing them.                                        19   the median generic, it didn't matter whether the
20          BY MR. GORTNER:                              20   product had been classified in the brand or the
21      Q. Okay. Did you know that most of the           21   generic arrays, is that right?
22   Medicaid programs use First DataBank blue book      22          MR. FAUCI: Objection to form.


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                                                  102                                                      104
 1        THE WITNESS: Just that that's the way         1         Q. So it's possible that they didn't --
 2   it fell.                                           2     they didn't reach the internal rule that you did
 3            BY MR. GORTNER:                           3     of if a drug has a generic name and something
 4       Q. I'm sorry?                                  4     else, we're going to classify it as a brand?
 5       A. That's the way the calculation came out     5         A. I don't know what their procedure was.
 6   based on the sources that were available.          6         Q. Did you speak to anyone at any other
 7       Q. Okay. So --                                 7     DMERC about how to classify Ipratropium Bromide
 8       A. Except the generic.                         8     NovaPlus?
 9       Q. So if there were confusion at Palmetto      9         A. I don't recall.
10   about whether Ipratropium Bromide NovaPlus should 10         Q. Is it a concern for you as a Palmetto
11   be categorized as a brand or a generic, was there 11     representative that one of your fellow DMERC's is
12   any part of the standard procedure that would     12     classifying a drug in the office the way that you
13   have you call up another DMERC and say, what are 13      are over a period of years?
14   you doing with this drug, how are you classifying 14            MR. FAUCI: Objection to the form.
15   it?                                               15            THE WITNESS: We never got into that
16       A. If we had unresolved differences, then     16     discussion other than, you know, comparing our
17   we usually try to work out those differences, I   17     fees.
18   just don't know if it ever was the result of      18            BY MR. GORTNER:
19   generic versus brand classification.              19         Q. I'm not asking for discussion.
20       Q. That's what I'm saying, how would you      20         A. Yeah.
21   know that there were differences in the DMERC-A's 21         Q. I'm just saying as a representative of
22   classification of NovaPlus versus your            22     Palmetto, is that a concern for you that one
                                                  103                                                      105
 1   classification, for instance?                        1   DMERC thinks this is a generic over the course of
 2       A. I wouldn't if there wasn't a reason for       2   years and another DMERC is classifying it as a
 3   me to question it.                                   3   brand over that same course of years?
 4       Q. And the reason for you to question it         4          MR. FAUCI: Object to the form.
 5   would be if the fee came out different, right?       5          THE WITNESS: If I would have known, we
 6       A. If the fee came out different.                6   probably would have gotten into discussion or if
 7       Q. Okay. And the fee came out the same in        7   it, you know, would have stuck out or was -- you
 8   this instance, right?                                8   know, we considered it a problem in
 9       A. As far as I know. I mean, I don't have        9   differentiating fees. But our goal, you know, we
10   our comparison sheet to look at. I would have to    10   -- everybody did their calculations separately
11   look -- go back and look and see if there was any   11   and then we came together at the end to resolve
12   discussion or resolution for it, the final fee.     12   the differences. That was our practice.
13       Q. Now, as far as you know, was DMERC-A         13          BY MR. GORTNER:
14   following the same procedures that you were         14       Q. So you wouldn't consider it a problem
15   following in classifying drugs or had they come     15   as long as the fees came out the same?
16   up with something different?                        16          MR. FAUCI: Object to the form.
17          MR. FAUCI: Object to the form.               17          THE WITNESS: We probably would have
18          THE WITNESS: If I recall -- I don't          18   entered into some discussion as to why, you know,
19   know exactly what their procedure was but I do      19   they considered it one way and we considered it
20   recall that they were usually different from        20   another.
21   everybody, for whatever reason I don't know.        21          BY MR. GORTNER:
22          BY MR. GORTNER:                              22       Q. Okay. Why don't we take a quick break,


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                                                  106                                                     108
 1   okay?                                              1     and they certainly appear to be what they were
 2          VIDEO TECHNICIAN: This concludes            2     represented. We reserve the right if we notice
 3   Videotape Number 2 in the videotape deposition of  3     that there is a difference later.
 4   Robin Stone, 30(b)(1) and (30(b)(6)                4            MR. GORTNER: Okay.
 5   representative. The time is approximately 2:00     5            THE WITNESS: Okay.
 6   PM. We are now off the record.                     6            BY MR. GORTNER:
 7          (A recess transpired.)                      7        Q. And we can set those aside for now just
 8          (Exhibit Roxane 256, Detailed Product       8     to kind of keep the exhibits completely from
 9   Information sheets for Ipratropium Bromide, was    9     overwhelming you.
10   marked for identification.)                       10            Now, I wanted to go back to your
11          (Exhibit Roxane 257, Detailed Product      11     declaration and in particular on Page 3 and look
12   Information sheets for Atrovent, was marked for   12     at Paragraph 8 where you stated that Palmetto
13   identification.)                                  13     classified products as brands or generics based
14          (Exhibit Roxane 258, Detailed Product      14     on the product name and if it differed from the
15   Information sheets for Ipratropium                15     chemical name you considered it a brand. And you
16   Bromide-NovaPlus, was marked for identification.) 16     go on to say: This was the case with NovaPlus.
17          VIDEO TECHNICIAN: We are now back on 17           And you state: Because this product had the
18   the record. Today's date is October 14, 2009.     18     trade name NovaPlus added to the chemical name,
19   The time is 2:09 PM. This is Tape Number 3 in     19     we considered it a brand product, right? Do you
20   the videotape deposition of Robin Stone, 30(b)(1) 20     see that statement?
21   and 30(b)(6) representative of Palmetto DMERC.    21         A. Yes.
22          BY MR. GORTNER:                            22        Q. And from what we were talking about
                                                  107                                                     109
 1        Q. Mrs. Stone, I'm going to be handing you      1   earlier, that particular paragraph is not coming
 2   what we've collectively marked as Roxane Exhibits    2   from a specific recollection of exactly how you
 3   256, 257 and 258. What these are are printouts       3   classified the product or the decision-making
 4   for three particular drugs that were on the          4   process behind that classification, it's rather
 5   Redbook CD's that you produced to us in late         5   you looking at the arrays now and the procedures
 6   summer of this year. The first one, Roxane 256,      6   and reconstructing what you think likely
 7   I'll represent to you is the detailed product        7   occurred, is that a fair characterization?
 8   information sheet from the Redbook CD/ROM's for      8          MR. FAUCI: Object to the form.
 9   the Roxane label of Ipratropium Bromide. Exhibit     9          THE WITNESS: I mean, we looked at the
10   257 is the same detailed product information        10   product name and compared it to the generic name
11   sheets for Atrovent. And Roxane 258 are the         11   and would for the most part, unless something,
12   detailed product information sheets for             12   you know, made us question it, would use that as
13   Ipratropium Bromide-NovaPlus. And again, I          13   our procedure to distinguish a brand.
14   understand that the government has stipulated to    14          BY MR. GORTNER:
15   the authenticity of these documents as coming       15      Q. What I'm saying is sitting here today
16   from the Redbook CD's that you produced. I just     16   or when you wrote this declaration, you didn't
17   want to have you look at them quickly and confirm   17   recall specifically what Palmetto actually did
18   that those, in fact, appear to be accurate and      18   with the NovaPlus product?
19   correct copies of the detailed product              19      A. The product versus the generic name was
20   information that were on those CD's.                20   pretty much our practice.
21           MR. FAUCI: I'll just state on behalf        21      Q. I understand that, but you don't recall
22   of the United States I've skimmed through these     22   specifically how that practice was applied in


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 1   this specific instance, right?                       1   it?
 2       A. Oh. Right. I mean...                          2       A. I don't recall exactly what the
 3       Q. You said right?                               3   specific decision was on diluents or specific
 4       A. I can't -- I mean, I can't say that           4   diluents. There's a lot of -- you know,
 5   that would be true. I mean, we would have used       5   depending on the situation there are exceptions
 6   the brand -- the product versus generic for          6   to the rules that might have been considered.
 7   NovaPlus products for Ipratropium and if there       7      Q. Was the definition of a trade name
 8   was any reason to think that we needed to go         8   something that Palmetto created on its own?
 9   further and determine that, then we would.           9          MR. FAUCI: Object to the form.
10       Q. But that's again a different rule than       10          THE WITNESS: The trade name, I mean, a
11   the rule that we saw in the drug pricing            11   trade name, I don't know exactly where the
12   procedure manual that we went through a little      12   terminology comes from. Again, trade name is
13   bit earlier which looked at capitalization          13   just saying that, you know, there's another name
14   issues, right?                                      14   added on to the generic name.
15          MR. FAUCI: Object to the form.               15          BY MR. GORTNER:
16          THE WITNESS: Which was specific to the       16      Q. Who would make --
17   book.                                               17       A. Terminology.
18          BY MR. GORTNER:                              18      Q. Who would make that decision, would it
19       Q. Right. Okay. So what I'm saying is           19   be the front-line person? I don't know if
20   you had one rule that you applied to the CD/ROM     20   there's an employee title that I should be using
21   and you had another rule that you applied when      21   for the person who's actually assigning
22   looking at the printed product, correct?            22   categorizations of drugs into the particular
                                                  111                                                       113
 1          MR. FAUCI: Object to the form.                1   arrays.
 2          THE WITNESS: Well, I mean, as far as I        2       A. Usually we follow the procedure and in
 3   can recall, yes.                                     3   the case if the product name and/or the generic
 4          BY MR. GORTNER:                               4   name differed, it would be looked at. If it was
 5       Q. Okay. Now, what's your definition or          5   -- looked like it was a trade name or a brand
 6   what's Palmetto's definition of a trade name?        6   name, it would be treated as a brand.
 7       A. Anything differing from the product and       7       Q. But that wasn't your role at the time,
 8   the chemical name. NovaPlus added on to the          8   though, right, 2002, 2004, you weren't the person
 9   generic name would make it a trade name to us.       9   that was actually looking at the Redbook printed
10       Q. Well, how about a diluent? You               10   version or the CD/ROM's and deciding where to put
11   indicated earlier that a diluent might not cause    11   the drugs; isn't that right?
12   it to be classified as a brand.                     12       A. Right.
13       A. And that's where I said that we would        13       Q. You were supervising, you were higher
14   get into the discussion of does the diluent         14   up, okay?
15   change the drug or is it considered part of the     15       A. I was the lead.
16   chemical drug itself.                               16       Q. That's higher up?
17       Q. And how did you decide? What was the         17       A. Yeah.
18   criteria for deciding whether it changed the name   18       Q. Okay. And then there were -- how many
19   or not?                                             19   employees would be involved in the construction
20       A. That's when we would probably get input      20   of this -- of this Ipratropium Bromide array,
21   from the medical staff.                             21   would it be one person who would do that?
22       Q. And what was their criteria if you know      22       A. I'm trying to think. Either one or two


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 1   for DMERC, there was one specific person for Part    1   NovaPlus goes to the brand or the generic array,
 2   B.                                                   2   that determination holds across every subsequent
 3      Q. But the one or two person for DMERC,           3   quarter, it's not reevaluated?
 4   would they split up the J codes? They wouldn't       4      A. Unless there's given reason to.
 5   be duplicating the work, would they?                 5      Q. You're not aware of any reason here
 6      A. That's what I'm trying to think, I             6   when they reevaluated it?
 7   can't remember if they traded off or if one          7      A. No.
 8   person was doing it all together at one time. I      8      Q. So someone when it first showed up in
 9   just -- I can't remember how they were splitting     9   the array made -- according to your declaration
10   that work but I want to think one person was        10   made the determination that NovaPlus was a trade
11   doing it in any given time but they always -- we    11   name and put the product in the brand portion of
12   were always cross-training people along the way.    12   the array?
13      Q. Okay. But generally speaking there was        13      A. Without seeing the first time it was
14   one person that would have been looking at some     14   used in a calculation, I can't say, but I would
15   format of the Redbook and with respect to this      15   think that that would be what the case would have
16   particular -- or the particular J codes where the   16   been.
17   Ipratropium Bromide NovaPlus product was in, they   17      Q. Okay. And my question is: How did
18   had to make a determination is this product name    18   that individual determine that NovaPlus was a
19   one that should be classified as a generic or a     19   trade name?
20   brand according to the rule you issued in your      20          MR. FAUCI: Object to the form.
21   declaration, right?                                 21          THE WITNESS: Looking at the product
22      A. Um-hum.                                       22   compared to the generic name and if it was
                                                  115                                                      117
 1       Q. Is that a yes?                                1   questionable, it would have entered into
 2       A. Yes.                                          2   discussion for review for final determination.
 3       Q. Okay. And that person then had to             3          BY MR. GORTNER:
 4   determine whether NovaPlus was a trade name,         4      Q. And you don't know whether it -- that
 5   right?                                               5   this product, whether it entered into review for
 6       A. Right.                                        6   determination?
 7       Q. And my question to you is: Do you know        7      A. Yeah, I don't know if this particular
 8   how that person -- how did that person make a        8   Ipratropium Bromide product would have prompted
 9   determination?                                       9   that determination or if that determination would
10          MR. FAUCI: Object to the form.               10   have been made prior to that.
11          THE WITNESS: I mean, it's probably --        11      Q. Okay. At what point would you have any
12   once you establish a calculation, you've got --     12   input into determining whether NovaPlus was a
13   you're using the same files from the previous       13   trade name or not?
14   quarter going into the new quarter. So if it had    14      A. If -- I mean, if it got questioned,
15   been determined prior to them calculating, they     15   they would usually come to myself or whoever was
16   wouldn't question it.                               16   acting, you know, their report at that time. At
17          BY MR. GORTNER:                              17   one time I was DMERC only and took on Part B
18       Q. Okay. That's fair enough. What               18   later but it would just depend on who the person
19   happens here is that the first time it shows up     19   was mentoring with and if they, you know, were
20   in the array, and let's say I think that's          20   questionable with their mentor, then they would
21   October 2000, assuming that's the case, that        21   come to me for a final determination.
22   determination of whether Ipratropium Bromide        22      Q. Was there any written definition of


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 1   what a trade name is at Palmetto?                    1   determination whether this Ipratropium Bromide
 2       A. Not that I'm aware of.                        2   product met that rule or not?
 3       Q. Was there any written definition about        3       A. For the first time, yes.
 4   when you determined that a product that has a        4       Q. For the first time there's an
 5   generic -- the generic chemical name in it should    5   individual at Palmetto that has to --
 6   not be classified as a generic?                      6       A. Say that.
 7          MR. FAUCI: Object to the form.                7       Q. -- say one of two things according to
 8          THE WITNESS: I don't know per se              8   your testimony. One is that we have an
 9   without going through everything and looking back    9   established rule that when a product has a
10   at everything but I don't know when that changed.   10   generic name in it and something more that's not
11          BY MR. GORTNER:                              11   a diluent, that product should be classified as a
12       Q. So is it fair to say that the                12   brand or if there's no such rule, it might prompt
13   classification of Ipratropium Bromide NovaPlus      13   a discussion about what to do with this product,
14   depended on the judgment of this individual who     14   is that right?
15   was constructing that particular array when it      15       A. Yes.
16   first came into the Palmetto arrays?                16       Q. And in this particular case you don't
17          MR. FAUCI: Object to the form.               17   know what happened?
18          THE WITNESS: Like I said before, it          18       A. No, none, not at that time.
19   would depend on when the determination on the       19       Q. Now -- and there was no written rule
20   product versus the generic name, how all that       20   explaining this generic versus branded generic
21   rolled out as to when Ipratropium Bromide           21   distinction, correct?
22   NovaPlus came in for calculation.                   22          MR. FAUCI: Object to the form.
                                                  119                                                      121
 1          BY MR. GORTNER:                             1            THE WITNESS: I don't know off the top
 2      Q. Okay. Well, we can look in here. We          2     of my head. I mean, procedures, you know, were
 3   can look at the arrays and I can tell you exactly  3     updated, I just -- I don't know if it was ever
 4   when it first shows up in the arrays if that       4     updated based on what I'm seeing here to say it
 5   would be helpful for you.                          5     was or wasn't.
 6      A. Well, what I'm saying, I don't know          6            BY MR. GORTNER:
 7   when the rules using product versus generic name, 7         Q. But it may have been more of an
 8   you know, were established as to what they were    8     informal person where the person who is
 9   doing that would have prompted the question for    9     constructing the arrays is talking to the
10   this particular drug.                             10     supervisor and you're talking to the medical
11      Q. I see what you're saying. I see what        11     director, if necessary, and that's how it
12   you're saying. So if Palmetto's rule about        12     generally works here, is that there's a process
13   establishing whether something was a generic or a 13     by which folks are talking back and forth, make
14   branded generic under the definition of and       14     these types of decisions when it's a close call?
15   including the generic name plus some additional   15            MR. FAUCI: Object to the form.
16   term or terms, if that rule had been established  16            THE WITNESS: Yes.
17   before Ipratropium Bromide NovaPlus could enter   17            BY MR. GORTNER:
18   the arrays, that rule would control the           18        Q. And theoretically this same internal
19   classification of the product?                    19     decision-making process has to occur at the three
20      A. I would say yes. There's --                 20     other DMERC's, right, each one of them has to
21      Q. But wouldn't it require the individual      21     determine at some point whether Ipratropium
22   that's constructing the arrays to still make a    22     Bromide NovaPlus should go into a generic or a


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                                                   122                                                     124
 1   brand array, right?                                  1         Q. And why would you open discussion on
 2       A. Yes.                                          2   it?
 3       Q. And the four of you aren't doing this         3      A. I don't know that I would or not, I'm
 4   all in a concertive collective effort, right?        4   just saying that it is -- it differs and they've
 5          MR. FAUCI: Object to the form.                5   put their name on it; therefore, they have
 6          THE WITNESS: Not that I can recall to         6   branded it with their name.
 7   that level.                                          7      Q. Okay. And the same would go for
 8          BY MR. GORTNER:                               8   Walgreens if there was a product that said
 9       Q. And the outcome was, you know, DMERC-A        9   Ipratropium Bromide, had a dash Walgreens, that
10   decides under whatever their rules are, we think    10   would be classified as a brand product?
11   this product belongs in the generic array the       11      A. Probably. I've never seen it so, you
12   whole time, right?                                  12   know, it's hard to say.
13       A. It could. I don't recall.                    13      Q. But these are things that if you saw a
14       Q. Now, you have CVS pharmacies down here,      14   product that said Ipratropium Bromide dash
15   don't you?                                          15   Walgreens, I mean, you -- a reasonable response
16       A. Yes.                                         16   in your view would be to have a discussion
17       Q. It's a big kind of retail pharmacy           17   internally about whether that fits Palmetto's
18   chain, is that right?                               18   definition of a brand or a generic, correct?
19       A. Um-hum. Yes.                                 19          MR. FAUCI: Objection to the form.
20       Q. Do you have a Walgreens down here as         20          THE WITNESS: That might have been --
21   well? Is Walgreens --                               21   prompted conversation, yes.
22       A. Yes.                                         22          BY MR. GORTNER:
                                                   123                                                     125
 1      Q. Okay. I'm not sure, there's all these          1        Q. Right. Because people within Palmetto,
 2   regional differences in pharmacies so I want to      2   couldn't there be reasonable disagreement when
 3   be sure. I thought I saw a CVS when I was            3   someone says, no, it's got the generic chemical
 4   driving in. Is CVS a trade name?                     4   name Ipratropium Bromide in the title, it's just
 5          MR. FAUCI: Object to the form.                5   identified in the Walgreens supplier, I don't
 6          THE WITNESS: I would guess. They're           6   think that's the same as the product that's
 7   not -- they're not called a pharmacy but...          7   called Atrovent, that would be a reasonable
 8          BY MR. GORTNER:                               8   discussion that you could have with Palmetto,
 9      Q. So if you had a product that was called        9   right?
10   Ipratropium Bromide and had a dash CVS, under       10            MR. FAUCI: Eric, are you talking about
11   your criteria you would classify that as a brand,   11   that CVS -- just for clarification, are we
12   wouldn't you, it's not a generic?                   12   talking about a situation where CVS and Walgreens
13      A. They've branded it.                           13   appears in the drug's name?
14      Q. I'm sorry, say that again.                    14            MR. GORTNER: Yes.
15      A. They've branded it.                           15            BY MR. GORTNER:
16      Q. Under your view that's a brand product?       16        Q. Let me be clear for all these questions
17          MR. FAUCI: Object to the form.               17   and correct your answer if I'm not being clear.
18          THE WITNESS: Again, we probably would        18   I'm assuming that the product name is -- I'm
19   open discussion on that but I would say that that   19   replacing NovaPlus with CVS or Walgreens so the
20   would be a branded product, they've put their       20   product says Ipratropium Bromide dash CVS just as
21   name on it.                                         21   it's listed in the Redbook CD but instead of
22          BY MR. GORTNER:                              22   NovaPlus it has a pharmacy.


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 1       A. My first response would be or thought         1   something that they would consider?
 2   would be that it would be considered branded         2          MR. FAUCI: Object to the form.
 3   generic.                                             3          THE WITNESS: I don't know. I don't
 4       Q. Okay.                                         4   know. Unless, you know, I'm put in that position
 5       A. It could prompt additional discussion         5   to look at that specific situation because drugs,
 6   what the outcome would have been, you know, I        6   there's many exceptions.
 7   don't know, I can't recall what decision went        7          BY MR. GORTNER:
 8   behind NovaPlus in saying that, okay, it is a        8       Q. But you know -- let me ask you as a
 9   branded generic.                                     9   consumer. When you walk into CVS and you see a
10       Q. My question isn't so much the ultimate       10   product that says ibuprofen CVS and next to it
11   outcome but rather that that initial assessment     11   there's a product named Tylenol, is there a
12   is something that involves ambiguity, that people   12   question in your mind that the CVS ibuprofen is a
13   at Palmetto could see it differently, right?        13   generic product?
14       A. Um-hum.                                      14          MR. FAUCI: Objection to the form.
15          MR. FAUCI: Object to the form.               15   That's beyond the scope of this deposition.
16          BY MR. GORTNER:                              16          BY MR. GORTNER:
17       Q. And in your view that wouldn't be            17       Q. You can answer the question.
18   unreasonable, would it, for someone at Palmetto     18       A. You know, I don't know. I mean, I go
19   involved with the array process to say, no, I       19   in, I don't usually think about it, I know what
20   don't think Ipratropium Bromide dash Walgreens      20   I'm buying and I go in. I guess I've never
21   should be thought of as a brand, I think it's       21   looked at it from over-the-counter drug
22   closer to a generic, a brand name like Atrovent?    22   perspective.
                                                  127                                                      129
 1           MR. FAUCI: Object to the form.               1      Q. You never thought about whether drugs
 2           THE WITNESS: It -- I mean, we would --       2   that have a Costco label on them or CVS or
 3   it could hold discussion but, I mean, there would    3   Walgreens label, whether that's --
 4   be research.                                         4      A. They're cheaper, yeah.
 5           BY MR. GORTNER:                              5      Q. But you never thought about whether
 6       Q. And what would the research be?               6   they were generic, they should be -- whether you
 7       A. Based on any input given back from the        7   think of them as a generic or a brand?
 8   medical director, the nurses and if we had a         8      A. Well, NovaPlus didn't match --
 9   pharmacy available to us, which sometimes -- a       9          MR. FAUCI: Object to the form.
10   pharmacist, you know, it would involve, you know,   10          THE WITNESS: NovaPlus doesn't match
11   different discussions with those.                   11   the manufacturer and, I mean, I don't know. I
12       Q. But what would be the nature of -- I         12   don't know.
13   know you don't know specifically what they're       13          BY MR. GORTNER:
14   saying on a drug-on-drug basis, I'm just trying     14      Q. You don't know the answer to that?
15   to understand what is the retail pharmacist on      15      A. I probably would think about it but at
16   staff, for instance, what's his input into this     16   the time the procedure was and the decision was
17   process?                                            17   to use the product if it differed. If we saw CVS
18       A. Just to give his guidance.                   18   or Walgreens, we probably would enter into a
19       Q. Would you anticipate that they would         19   decision and probably determine that that would
20   look to whether a product like Ipratropium          20   be generic. But NovaPlus, like I said, I don't
21   Bromide dash Walgreens, whether that product was    21   know the -- I don't know the details that went
22   considered generic by pharmacists, is that          22   into defining NovaPlus as a brand. I don't know


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 1   if, you know, that branded generic concept           1   else and found that out, I don't recall.
 2   applied to that but, you know, we had guidance to    2       Q. Now, how about if the product was
 3   do that and that's what we did.                      3   advertised as Ipratropium Bromide dash NovaPlus,
 4       Q. Fair enough. I think what I'm trying          4   this is a generic drug? That's the entire title.
 5   to understand is whether or not it was an            5           MR. FAUCI: Objection to the form.
 6   ironclad rule. What I think you just said --         6           BY MR. GORTNER:
 7       A. And I can't say that that was.                7       Q. What would you do under those
 8       Q. Exactly. It was a subject of                  8   circumstances?
 9   discussion so when you have situations where a       9       A. It would definitely be up for
10   generic name has something in addition to it like   10   discussion.
11   in this case where a hypothetical CVS or            11       Q. But you don't know whether it would be
12   Walgreens.                                          12   classified on that basis, a brand or a generic?
13       A. Right.                                       13       A. I would --
14       Q. That's a subject of discussion at            14           MR. FAUCI: Objection to the form.
15   Palmetto, right?                                    15           THE WITNESS: I mean, I would think
16       A. Right.                                       16   that it's generic but...
17          MR. FAUCI: Objection to the form.            17           BY MR. GORTNER:
18          BY MR. GORTNER:                              18       Q. You would think it's generic. And why
19       Q. How about if the product was named           19   is that?
20   Ipratropium Bromide dash Roxane?                    20       A. Well, going out to the site that it
21          MR. FAUCI: Object to the form.               21   does classify it as a generic but, again, it
22          BY MR. GORTNER:                              22   would open up into discussion is it brand, it's
                                                  131                                                      133
 1      Q. How would you classify that product?        1      generic.
 2      A. I don't know.                               2          Q. And the sole reason for that would be
 3      Q. Would that also be a subject for            3      the presence of the term NovaPlus in the title in
 4   discussion?                                       4      addition to these other words?
 5      A. It would be subject for discussion          5          A. That would have --
 6   since Roxane also had other products in which     6             MR. FAUCI: Objection to the form.
 7   they did not add something additional to their    7             THE WITNESS: -- caused us to question
 8   name.                                             8      it, yes, because of our knowledge of branded
 9      Q. And what would be the nature of the         9      generic sources.
10   discussion?                                      10             BY MR. GORTNER:
11      A. Going through and determining is it        11          Q. But if a manufacturer is telegraphing
12   considered a branded generic or generic.         12      to you in the title something like that, this is
13      Q. And you can't tell me the criteria for     13      a generic drug, that's something that would lead
14   branded generic again?                           14      you to believe it's a generic, right?
15      A. I cannot recall what or where that         15             MR. FAUCI: Object to the form.
16   information is that defines branded generic from 16             THE WITNESS: We probably would still
17   generic.                                         17      question it even coming from the manufacturer
18      Q. There was some internal understanding      18      because of the term that we were aware of being
19   of a what a branded generic was?                 19      branded generic.
20      A. Or if it came from, you know, like in      20             BY MR. GORTNER:
21   the procedures if they contacted Redbook and     21          Q. Let's take a look -- could you go back
22   found that out or if they looked at something    22      to the 2001 Redbook printout. And I need to get


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 1   the --                                             1     objection, counsel?
 2           MR. FAUCI: Talking about the Redbook       2            MR. FAUCI: You would classify -- I
 3   for CD?                                            3     think it invented assumption and maybe -- if you
 4           MR. GORTNER: No, I'm sorry, the            4     want, I can get into it. Is your question that
 5   printed version of the annual Redbook. Let me go 5       if she was looking at the 2001 printed Redbook,
 6   to -- it is -- it was marked as Roxane Exhibit --  6     would she classify these --
 7           THE WITNESS: 254?                          7            MR. GORTNER: Yes, yes.
 8           BY MR. GORTNER:                            8            BY MR. GORTNER:
 9       Q. 254, thank you. Before we kind of           9         Q. Based upon the 2001 annual Redbook that
10   delve into that right now, just so I can          10     was marked as Roxane Exhibit 254, using either of
11   understand, that the -- as you stated in your     11     the criteria we've testified about how Palmetto
12   declaration, the reason why you believe that      12     was classifying drugs, isn't it correct that you
13   Palmetto classified this drug as a brand was      13     would classify those three 8404 NDC's, the Roxane
14   because of the trade name NovaPlus, right?        14     NovaPlus Ipratropium Bromide, as a generic
15           MR. FAUCI: Object to the form.            15     product, not a brand?
16           THE WITNESS: Right.                       16         A. If this was all we were looking at,
17           BY MR. GORTNER:                           17     yes.
18       Q. Okay. Let's take a look now at Roxane      18         Q. Yes. And the reason you'd do that is
19   Exhibit 254 and I just want to go back to what's  19     because there is no trade name of NovaPlus
20   on Page 368 of this Redbook and orient you again 20      anywhere in this listing, correct?
21   to that middle column where the six NDC's are     21         A. Correct.
22   located underneath Roxane as a manufacturer. Do 22           Q. And the reason you do that under the
                                                  135                                                      137
 1   you see that?                                        1   desk procedure is because there is no
 2       A. Um-hum.                                       2   capitalization above Roxane with the generic name
 3       Q. And I'll represent to you that the last       3   listed in small caps underneath it, right?
 4   three NDC's, the ones that have 8404 in the          4       A. Right.
 5   middle, those pertain to the NovaPlus label --       5       Q. So it's fair to say then the
 6       A. Um-hum.                                       6   classification of Ipratropium Bromide NovaPlus as
 7       Q. -- Ipratropium Bromide and the top            7   a generic or a brand depends on what particular
 8   three are the Roxane labeled generic product,        8   version of Redbook you're looking at, right?
 9   right?                                               9       A. From the classification, yes.
10       A. Um-hum.                                      10       Q. Yes. If you're looking at the annual
11       Q. Okay. Now, the word NovaPlus cannot be       11   Redbook, you would classify Ipratropium Bromide
12   found on this particular listing, right?            12   NovaPlus as a generic, wouldn't you?
13       A. That's right.                                13       A. If we had not known of the other
14       Q. So using either criteria that we've          14   situation, yes.
15   talked about before, using the criteria that was    15       Q. And if you were looking at the Redbook
16   listed in the drug pricing procedure or the         16   CD under your criteria in terms of looking at
17   criteria you've talked about with respect to does   17   whether it had a trade name, you would classify
18   the name differ from the chemical name, you would   18   it as a brand, correct?
19   classify these three NDC's as generics, wouldn't    19       A. Correct.
20   you?                                                20       Q. But they're both materials from the
21          MR. FAUCI: Object to the form.               21   same Redbook publishing compendia, correct?
22          MR. GORTNER: What's the basis of your        22       A. I understand that.


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 1      Q. Yes is the answer, correct?                 1    of whether it should be classified as a brand or
 2      A. Yes.                                        2    generic?
 3      Q. Now, with respect to these Redbook          3       A. Yes.
 4   CD's, Mrs. Stone, where were the Redbook CD's     4       Q. So they were certainly related to that
 5   that you produced this summer? Where were they    5    issue, weren't they?
 6   located?                                          6       A. Yes.
 7      A. They were stored down in some boxes         7       Q. And how about printed Redbooks, did you
 8   that were packed up from a move or something and 8     look around for printed Redbooks?
 9   there was like a storage area and they were in    9       A. We did search for our printed Redbooks.
10   that.                                            10    We had a file but those had been -- well, they --
11      Q. And did you find any printouts of the      11    well, I don't know if they did or didn't. We do
12   sort that I showed you in Miss Helton's          12    have some. We didn't have the annual ones, the
13   production to us recently?                       13    older ones. I don't know if there's a date
14      A. We didn't normally print them out          14    cutoff issue or what.
15   unless somebody asked for information related to 15       Q. And you claim that you used the Redbook
16   a specific drug. It wasn't our practice to print 16    CD's beginning at some point in 1999, is that
17   out the CD information when we performed         17    right?
18   calculations.                                    18       A. I think it's somewhere around 1999. I
19      Q. Did anyone ever ask you to search for      19    can't recall the exact date for -- I don't know
20   the Redbook CD's prior to sometime this summer?  20    the exact date. Let's see.
21      A. I mean, they had asked us to search for    21       Q. I'm looking at the bottom of Page 3,
22   drug stuff, drug information and try and produce 22    Paragraph 10, if that helps you.
                                                139                                                      141
 1   everything. But the CD's, I don't know why they    1      A. Where are you?
 2   weren't, you know, put up for production, I don't  2          MR. FAUCI: He's in your affidavit.
 3   know, you know, they were, like I said, when we    3          THE WITNESS: Oh, okay. I don't have a
 4   went back through stuff, we just recently began    4   page number. Okay.
 5   cleaning out a bunch of our old DMERC records and 5           BY MR. GORTNER:
 6   they were in that stuff. I don't know if someone   6      Q. That's okay, I just wanted to establish
 7   saw them before and didn't think anything about    7   that at some point you transitioned.
 8   it or what, I didn't personally go through         8      A. Yeah, I'm sure whatever dates I put in
 9   everything in our files.                           9   there are based on what information I had
10       Q. But if I had asked you to identify for     10   available to me. I don't remember what I put in
11   me materials that were related to the pricing     11   there.
12   these arrays, would the Redbook CD's be materials 12      Q. But it looks like during the time that
13   that you would consider to be related to this     13   the Ipratropium Bromide NovaPlus was in the
14   project?                                          14   arrays, which was at some point after 1999 I'll
15          MR. FAUCI: Object to the form.             15   represent to you, these Redbook CD's would have
16          THE WITNESS: They were used to             16   been the material that someone looked at to make
17   calculate the fees. The information, however, is  17   the determination of whether this drug should be
18   reproduced in the fee calculations.               18   a brand or generic, correct?
19          BY MR. GORTNER:                            19      A. Correct.
20       Q. But in terms of classifying drugs as       20      Q. And these were at Palmetto in storage
21   brands or generics, were the CD's used at least   21   the whole time, is that what you were saying?
22   in some point in time to make the determination   22      A. The CD's, yes.


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 1       Q. The CD's were. So all the ones that         1     certainty whether they were treated as brands or
 2   have been produced over the summer, were they in   2     generics?
 3   a basement or were they off site?                  3         A. Yes, I stand by that, I just can't
 4       A. They were -- we have a reference            4     remember why.
 5   workstation that just has tons of stuff stored in  5         Q. Later on in the declaration you --
 6   it and they were in those -- in that stuff boxed   6     Paragraph 14, Page 5, Mrs. Stone, you explain a
 7   up.                                                7     little bit more --
 8       Q. How did you find them?                      8         A. Okay.
 9       A. Going through -- we are focusing on         9         Q. -- as to why you're unable to determine
10   procedures to make sure we don't have, what do 10        whether there were --
11   you call it, PHI -- PII and going through all of  11         A. Oh, okay.
12   that. We had to go through and tear everything 12            Q. My question is just a limited question
13   apart and they were discovered during that time. 13      that there is that one quarter where you can't
14       Q. You don't have an index that you keep      14     say with certainty whether it was treated as a
15   of stuff in storage?                              15     brand or a generic in the Palmetto arrays?
16       A. No.                                        16         A. I would say yes. I know there was a
17       Q. Now, there was one quarter with respect    17     situation I found something else that -- but I
18   to Palmetto's classification of Ipratropium       18     can't remember if it's in reference to this and
19   Bromide NovaPlus where you weren't sure whether 19       if it was found after this or not.
20   it was classified as a brand or a generic; isn't  20         Q. Do you have any reason to believe that
21   that right?                                       21     what you stated in that declaration --
22       A. I'm not positive about that.               22         A. There was a file that I came across and
                                                  143                                                      145
 1       Q. If you want to, you could look at             1   I can't remember if it was after this or not that
 2   Paragraph 6 of your affidavit from Pages 2 to        2   wasn't -- it was an Excel spreadsheet and it had
 3   really the last sentence at the top of Page 3        3   a brand generic indicator in there. And if I
 4   from Paragraph 6 where you say for one quarter of    4   recall, it had a Y for NovaPlus as being a brand
 5   2003, Q2, I am unable to determine with certainty    5   but I can't remember if this was the same -- if
 6   whether they, meaning the Ipratropium Bromide        6   this was related or not.
 7   NovaPlus products, were treated as brands or         7       Q. Okay. So as we sit here today, are you
 8   generics in the fee calculation, right?              8   standing by what you submitted in this
 9       A. That statement is in reference to a           9   declaration on July 23rd, 2009 that for the
10   file that wasn't classified under our normal        10   second quarter of 2003 you cannot say with
11   working files and that was a period I think --      11   certainty whether Palmetto classified the
12   well, you know what, 2003, I'd have to see what     12   NovaPlus product as a generic or a brand?
13   it is I'm referring to again. I don't recall.       13       A. On that day -- like I said, on that
14       Q. I'm just looking at -- I mean, you           14   day, I mean, what is in here would be true.
15   understand this declaration is --                   15       Q. You understand that that's a document
16       A. I'm sure I had reason to state that.         16   that's before the court --
17       Q. Well, I hope so. This is testimony to        17       A. Yeah.
18   the court, you know that, right?                    18       Q. Let me finish my question. And we have
19       A. Yeah.                                        19   a hearing next Tuesday and this is part of the
20       Q. Okay. So you stand by that you were          20   testimonial record of this case.
21   unable to determine for that Quarter 2003,          21       A. I know.
22   Quarter 2, you were unable to determine with        22       Q. So you understand that this is a


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 1   significant matter for my client, that we're         1       A. Correct.
 2   counting on your representations in this             2       Q. With respect to Palmetto's drug pricing
 3   declaration to be true and correct, not just as      3   policies, Palmetto for a period of time also
 4   of July 23rd but as of today. Now, can you say       4   reviewed and submitted payments for Medicare Part
 5   with certainty whether that statement in those       5   B drugs that weren't covered under the DMERC
 6   Paragraphs 18 and 14 are, in fact, correct as of     6   coverage, is that correct?
 7   today?                                               7       A. Payment for drugs that were part of our
 8          MR. FAUCI: What paragraphs are you            8   Part B carrier?
 9   talking about, Eric?                                 9       Q. Right.
10          MR. GORTNER: I'm referring to, I'm           10       A. South Carolina carrier?
11   sorry, Paragraphs 6 and 14. Thank you, Jeff.        11       Q. Right. Palmetto also processed --
12          MR. FAUCI: I believe I have a copy of        12   there was a DMERC --
13   this exhibit, of this declaration with the          13       A. Right.
14   exhibits. I see that Paragraph 14 refers to         14       Q. -- Palmetto.
15   Exhibit E and that is not here. Would you prefer    15       A. And as a Part B carrier we processed.
16   I substitute that in?                               16       Q. And a Part B carrier?
17          MR. GORTNER: That's fine, I'm happy to       17       A. Yes.
18   include Exhibit E if that would help clarify the    18       Q. Can you explain to me in terms of was
19   testimony. Would it help you, Miss Stone?           19   the Part B carrier located in the same premises
20          THE WITNESS: Yes.                            20   as the DMERC carrier or were these different
21          MR. GORTNER: Okay, why don't we take a       21   offices?
22   quick break and we'll bring that in here, we can    22       A. They were the same.
                                                  147                                                      149
 1   clarify that.                                        1      Q. Same office?
 2          VIDEO TECHNICIAN: We will now go off          2      A. Um-hum.
 3   the record. The time is 2:49 PM.                     3      Q. And did you interact much with the Part
 4          (A recess transpired.)                        4   B folks that were creating arrays for the Part B
 5          VIDEO TECHNICIAN: We are now back on          5   drugs?
 6   the record. The time is 2:59 PM.                     6      A. Yes.
 7          BY MR. GORTNER:                               7      Q. And were they subject to the same
 8       Q. Mrs. Stone, at the break and right            8   policies that we have talked about earlier in
 9   before the break we were discussing Paragraph 6      9   terms of determining whether a product should be
10   and 14 of your declaration submitted in this case   10   classified as a generic or a brand?
11   and we provided you with Exhibit E to help          11      A. As far as I can recall, yes.
12   clarify the issue. Has it helped you?               12      Q. And you can't think of any reason why
13       A. Yes. Yes.                                    13   Palmetto's Part B employees should be
14       Q. And can you clarify whether it's still       14   constructing arrays with respect to generics or
15   the case that you cannot determine with certainty   15   brands differently than the DMERC employees
16   whether NovaPlus Ipratropium Bromide was            16   should be doing it, right?
17   classified as a brand or generic for the second     17      A. Not that I can think of. There were
18   quarter of 2003?                                    18   variations but I can't recall the different
19       A. That is true.                                19   exceptions each time.
20       Q. What that means is it's possible that        20      Q. How about with respect to NovaPlus? I
21   it was treated as a brand for that particular       21   mean, you've testified here repeatedly that --
22   quarter or you don't know one way or the other?     22      A. Pretty much I think products, the


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 1   product situation to determine a brand was the     1   generics but, like I said, I don't know the
 2   same but they are two different groups who were 2      source, I don't know who. There's no --
 3   doing those calculations.                          3       Q. You've never seen a document like this
 4       Q. I wanted to show you an exhibit that we     4   before?
 5   can mark as Roxane 259.                            5       A. Yes, I have seen the document, that's
 6          (Exhibit Roxane 259, Document entitled      6   what I'm saying, I don't know -- I don't -- what
 7   Diltiazem HCL, was marked for identification.)     7   I've seen is not part of the final file
 8          BY MR. GORTNER:                             8   calculations, it's like a working file and it
 9       Q. And I'll represent to you that this is      9   appeared to be an incomplete file because at that
10   a document that was produced in this litigation   10   time there was another file, the SDP calculation
11   from the Palmetto carrier and it appears to be an 11   file that would have had this drug in it that --
12   array for a product called Diltiazem. I think it  12       Q. With respect to this particular
13   was done by the Palmetto Part B carrier. And as   13   document that I handed you that we've marked as
14   you see, it's a December 2002 date, right?        14   Roxane 259, do you contend that this is a
15       A. Um-hum.                                    15   nonfinal document with respect to the
16       Q. And as you can see in the top portion      16   categorization of the Diltiazem NovaPlus as a
17   it shows the product manufacturer and appears to  17   generic versus a brand?
18   have a brand name column and then in the next     18       A. I would say that it most likely is
19   lower portion it has a generics, do you see that? 19   because of the NovaPlus being down in the
20       A. Um-hum.                                    20   generics. Without -- like I said, without going
21       Q. And you can see that in the generics       21   back and looking at the context of the file and
22   bottom portion of the array, there is an entry    22   where it fell in our files, I can't say for
                                                151                                                      153
 1   for Diltiazem HCL NovaPlus.                        1   certain.
 2      A. Um-hum.                                      2      Q. And that's the basis of you question
 3      Q. There's two different NDC's there. Now,      3   this document that NovaPlus is categorized in
 4   would this indicate to you that the Medicare Part  4   generics rather than brand?
 5   B Palmetto carrier had classified that Diltiazem   5      A. Yes, in this document it is.
 6   NovaPlus as a generic product and not a brand?     6      Q. How about the Amerinet, the two
 7      A. I can't -- I don't know the source name      7   Amerinet names directly above from Abbott? Do
 8   from this so without knowing that, I can't say     8   you see that there's a product name that has the
 9   for certainty because of the date that's December 9    Diltiazem, HCL and Amerinet, those are also in
10   2002 that is when we entered into SDP. I think I 10    the generic field as well, right?
11   had looked at this before and it was not clear    11      A. Right.
12   that it was a final file or product. This was     12      Q. And you'd expect those to be in the
13   not part of the SDP files that were being         13   brand according to your criteria?
14   calculated at that time for going into January    14      A. I would think so, yes.
15   2003 so I cannot say with certainty why it's      15      Q. Now, were you aware that there are
16   showing down here in the generics without         16   instances where the Cigna DMERC -- excuse me, the
17   actually knowing what files this came from.       17   Cigna Part B carrier also placed NovaPlus
18      Q. But do you have any reason to believe       18   products, products that had the name NovaPlus in
19   that they did not classify this drug with a       19   addition to the generic chemical name, in its
20   NovaPlus name in its title as a generic drug in   20   generic arrays and not its brand arrays?
21   their arrays?                                     21      A. I didn't work with Cigna's Part B
22      A. In the file it is listed there as           22   carrier.


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 1       Q. So you didn't know that?                      1      A. The arrays?
 2       A. Hum-um.                                       2      Q. Yeah, the actual Excel sheets here or
 3       Q. But if, in fact, Cigna's Part B carrier       3   other sheets within Roxane 46 that list, you
 4   had classified some products with the generic        4   know, particular manufacturer, product name, the
 5   chemical name and NovaPlus in the title as a         5   AWP, whether it's been placed in a generic or
 6   generic and not a brand, would that change your      6   brand column.
 7   belief that these should be brands?                  7      A. Not that I can recall.
 8       A. We probably would have questioned it          8      Q. You don't have any reason to believe
 9   and, you know, taken it again for discussion to      9   that these were publicly available, do you?
10   determine, you know, what's right or what's         10      A. Um-um.
11   wrong.                                              11      Q. You have to answer yes or no.
12       Q. I'll represent to you that it appears        12      A. No.
13   from the evidence in this case that there have      13      Q. The answer is no? So as far as you
14   been instances where Part B carriers have           14   know, Roxane couldn't determine whether Palmetto
15   classified a product that has a generic chemical    15   was putting Ipratropium Bromide product in a
16   name and the term NovaPlus in the title as a        16   generic or brand array, is that right?
17   generic and not a brand drug, okay?                 17      A. That's correct.
18       A. Okay.                                        18      Q. And the same goes for the Ipratropium
19       Q. And you also know that one of your           19   Bromide NovaPlus product, Roxane couldn't
20   fellow DMERC's classified a drug with the generic   20   determine whether you had placed it in the brand
21   chemical name NovaPlus as a generic drug for        21   or generic portion of the array?
22   years in its arrays, you know that, right?          22      A. That's correct.
                                                   155                                                     157
 1      A. Now I do.                                      1       Q. I wanted to draw your attention
 2      Q. Okay. And you, yourself, aren't sure           2   specifically to AWPQ022-0038 (sic) and that
 3   that for that one quarter whether the NovaPlus       3   appears to be the 2001 first quarter array. And
 4   product was classified as a branded drug -- a        4   in your declaration you indicated that this was
 5   branded generic even within Palmetto, correct?       5   the first array where the NovaPlus product was
 6      A. I can't determine that and say for             6   entered in the Palmetto arrays. And do you see
 7   certainty because the brand -- there's no brand      7   it there under the J code 7644KO?
 8   or generic indicator on that particular report.      8          MR. FAUCI: Which Bates number?
 9      Q. Now, the arrays that we've been                9          BY MR. GORTNER:
10   discussing, and we earlier provided you with a      10       Q. I'm sorry, it's AWQ022-0038.
11   Roxane Exhibit 46 which was a collection of         11       A. Oh, 38.
12   Palmetto arrays that had been produced in this      12       Q. And it appears to be an array for the
13   case to us. It's that document right there. It      13   first quarter of 2001 and about three-quarters
14   has a cover note on it but in the back is a         14   down the page there are three entries for
15   collection of the arrays generally from 1996        15   Ipratropium Bromide NovaPlus in the array, do you
16   through 2004. Maybe you can flip to that            16   see that?
17   document quickly and see if you recognize the       17       A. Yes.
18   arrays that are behind that.                        18       Q. And as we talked about on the far right
19          Now, Mrs. Stone, let me ask you a            19   next to the three rows of Ipratropium Bromide
20   general question about these arrays. Were these     20   NovaPlus there is a column entitled TYP, which
21   particular arrays published on a Web site or in a   21   might stand for type, and it has a G entry which
22   newsletter from 2000 and 2004?                      22   suggests that the fee that was sent was based on


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 1   the median generic AWP, correct?                     1   Helton about her declaration in this case?
 2       A. Correct.                                      2      A. No.
 3       Q. And what I'm asking you to do is just         3          MR. GORTNER: Okay. And I'm going to
 4   to flip through the remaining arrays if you          4   request that counsel not discuss your testimony
 5   wouldn't mind and confirm that in all instances      5   with Miss Helton prior to her deposition this
 6   where Ipratropium Bromide NovaPlus was in the        6   Friday and I'll make the same request of you.
 7   arrays, the payment was set upon the median          7   We'll be speaking with her on Friday and would
 8   generic AWP and not on a brand AWP.                  8   like to keep this testimony private until that
 9          And just so that you don't think it's a       9   time. No more questions, thanks.
10   trick question, I represent to you that we have     10             EXAMINATION
11   gone through it and we see G's next to every        11          BY MR. FAUCI:
12   entry.                                              12      Q. Mrs. Stone, I just have a couple quick
13          MR. FAUCI: I thought we answered that.       13   questions just following up on a few matters.
14          BY MR. GORTNER:                              14   I'm going to show you what I'll mark as US Stone
15       Q. Yeah. If you'll stipulate to that, I         15   Exhibit 1.
16   just want to make it clear that that was the case   16          (Exhibit US Stone 001, Document
17   and I'll ask a follow-up question so we have it     17   entitled Tab 171, with attachments, was marked
18   clear on the record, Mrs. Stone.                    18   for identification.)
19       A. Okay. That appears to be the case.           19          BY MR. FAUCI:
20       Q. That's the case? And that indicates to       20      Q. Take a moment to familiarize yourself
21   you that Ipratropium Bromide NovaPlus AWP never     21   with that document and just tell me if you
22   set the payment rate for Palmetto's fee             22   recognize it.
                                                  159                                                     161
 1   calculation for Ipratropium Bromide, is that         1       A. Yes, I do.
 2   correct?                                             2       Q. What is this document?
 3      A. That's correct.                                3       A. It is a CMS and/or HCFA, at that time,
 4          MR. GORTNER: I don't think I have any         4   transmittal which gives the contractors
 5   further questions. Thank you for your time.          5   guidelines and guidance for handling drug
 6          MR. FAUCI: Marisa?                            6   payments.
 7          MS. LORENZO: I have no questions.             7       Q. What's the date of the document?
 8          MR. GORTNER: Marisa?                          8       A. December 1998.
 9          VIDEO TECHNICIAN: We will now go off          9       Q. Do you believe that Palmetto, excuse
10   the record. The time is approximately 3:17 PM.      10   me, received this document?
11          (A recess transpired.)                       11       A. Yes.
12          VIDEO TECHNICIAN: We are back on the         12       Q. Can you -- can I direct your attention
13   record at 3:24 PM.                                  13   to the heading calculation of the AWP? Do you
14          BY MR. GORTNER:                              14   see that about midway down?
15      Q. Mrs. Stone, I have just a couple more         15       A. Oh, yes.
16   questions.                                          16       Q. Can you read the language after the
17      A. Okay.                                         17   Number 2?
18      Q. First, have you spoken to anyone else         18       A. Okay. For a multisource drug or
19   aside from your counsel or the DOJ attorneys with   19   biological, the AWP is equal to the lesser of the
20   respect to your declaration?                        20   median AWP of all of the generic forms of the
21      A. No.                                           21   drug or biological or the lowest brand name
22      Q. Have you had any contact with Miss            22   product AWP. A brand name product is defined as a


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                                                               42 (Pages 162 to 165)
                                                  162                                                      164
 1   product that is marketed under a labeled name        1   believe sometime in 2001 or 2002 maybe. I can't
 2   that is other than the generic chemical name for     2   remember dates exactly.
 3   the drug or biological.                              3      Q. Is that the Redbook for Windows?
 4      Q. Are you familiar with this language?           4      A. No.
 5      A. Yes.                                           5      Q. I'm sorry, I misspoke then.
 6      Q. Did you rely on this language in               6      A. Okay.
 7   deciding whether to classify products as brand or    7      Q. I wasn't clear. Can you tell me the
 8   generics?                                            8   time that you came to use the Redbook for Windows
 9          MR. GORTNER: Objection, form.                 9   program?
10          THE WITNESS: I'm sure we would have          10      A. The Redbook for Windows, I want to
11   used this in that determination.                    11   think -- because I say that in my thing. I can't
12          BY MR. FAUCI:                                12   remember dates very well. I know at least 1999
13      Q. Earlier you testified that at some            13   and I think I have something that showed me that
14   point in time you came to understand that there     14   we were using it possibly before that but I'm not
15   were some products that were what you called        15   sure. Hang on. This was dated '99.
16   branded generics. Do you recall that testimony?     16      Q. Yeah, if I can -- I believe you're
17      A. Yes.                                          17   looking at what's been marked as Abbott Exhibit
18      Q. Did you rely on the language in this --       18   42 -- Roxane Exhibit 42, is that correct?
19   the language you just read in determining whether   19      A. Yes.
20   products you regarded as branded generics were      20      Q. And I direct your attention to a page
21   brands or generics for purposes of Medicare         21   on that beginning drug pricing procedure.
22   reimbursement?                                      22      A. Okay.
                                                  163                                                      165
 1          MR. GORTNER: Objection, form.                 1      Q. Does this suggest to you that you were
 2          THE WITNESS: Yes.                             2   using the Redbook CD/ROM by 1999?
 3          BY MR. FAUCI:                                 3      A. Yes.
 4       Q. I believe you testified earlier as to         4      Q. In the printed Redbook, were these
 5   the sources of information that Palmetto used in     5   conventions that Redbook used to distinguish
 6   determining Medicare reimbursement. Do you           6   between brand name and generic products?
 7   recall that?                                         7      A. In the?
 8       A. I'm sorry, repeat that.                       8      Q. In the annual printed Redbook.
 9       Q. I believe you testified earlier as to         9      A. In the annual printed Redbook, yes.
10   the sources and information that Palmetto looked    10      Q. What were those conventions?
11   to in determining Medicare reimbursement amounts?   11      A. I'd have to look at a visual. The
12       A. Yes.                                         12   brand name -- can I refer to --
13       Q. Was that the Redbook?                        13      Q. Do they refer to the type face and
14       A. Yes.                                         14   capitalization?
15       Q. And you testified that you used              15      A. Well, yes.
16   different versions of the Redbook, is that          16      Q. And were there any such conventions in
17   correct?                                            17   the Redbook for Windows program?
18       A. Yes.                                         18      A. In the Redbook for Windows? Say the
19       Q. Was there a time -- what was the time        19   question again, I'm sorry.
20   that you came to use an on-line version of the      20      Q. Can you just -- when you looked at
21   Redbook?                                            21   pricing information on the Redbook for Windows
22       A. The on-line? Oh, gosh. I want to             22   programs, did it make any -- did it distinguish


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                                                  166                                                       168
 1   between products as brands or generics according     1          MR. FAUCI: No problem.
 2   to capitalization or type face?                      2          THE WITNESS: Okay.
 3       A. I don't think that was very clear as          3          BY MR. FAUCI:
 4   far as brand and generic. There was                  4      Q. This document lists various Diltiazem
 5   capitalization in lower-case -- or upper-case and    5   products and it appears to list several Diltiazem
 6   lower-case and I know one contained all and I        6   products -- Diltiazem NovaPlus products under the
 7   can't remember what the other one contained. I       7   generic section. Do you see that?
 8   looked at it but I can't remember.                   8      A. Yes.
 9       Q. Can you look at that exhibit that we          9      Q. Above the generic section it says
10   marked as Roxane Exhibit 255? I think it was a      10   package exclusions. What does that mean?
11   two-part exhibit. I believe you testified           11      A. There are certain exclusions that
12   earlier that the information contained in here      12   Palmetto GBA would exclude based on what they
13   was -- represents printouts from the Redbook for    13   call special packaging. Preservative-free might
14   Windows program?                                    14   be excluded if the code itself didn't indicate
15       A. Yes.                                         15   preservative-free. That's all I can think of
16       Q. Can I direct your attention to the page      16   right now but I know there were some -- there are
17   marked Cigna 0110.                                  17   exclusions.
18       A. Okay.                                        18      Q. I think this is my -- so is it fair to
19       Q. What is this page?                           19   say that the products listed under package
20       A. It is a page out of the CD Redbook for       20   exclusions were not used to calculate in the
21   Windows.                                            21   arrays?
22       Q. Does this list various products that         22      A. That would be true.
                                                  167                                                       169
 1   were included within the relevant HCFA code for      1      Q. I think I just have one more line of
 2   Ipratropium Bromide?                                 2   very quick questions. Mr. Gortner asked you a
 3      A. Yes.                                           3   series of questions about the possibility of
 4      Q. And does it list Atrovent?                     4   products would have other names appearing after
 5      A. Yes.                                           5   the generic chemical names such as CVS or
 6      Q. And does it also list Ipratropium              6   Walgreens. Do you recall that?
 7   Bromide products by brand name manufacturers?        7      A. Yes.
 8      A. Yes.                                           8      Q. Have you ever seen a product that --
 9      Q. And it also lists Ipratropium Bromide          9   where the product name had CVS appearing in the
10   NovaPlus?                                           10   product name?
11      A. Yes.                                          11      A. No.
12      Q. Are those products distinguished in any       12      Q. What about Walgreens?
13   way in terms of capitalization or type face?        13      A. Not that I can recall.
14      A. No.                                           14          MR. FAUCI: I have no questions.
15      Q. Can you look at Roxane Exhibit 259. It        15          MR. GORTNER: No further questions on
16   was the Diltiazem. I'm sure Mr. Gortner             16   my end.
17   pronounced it better than I did. Diltiazem.         17          VIDEO TECHNICIAN: This concludes the
18   Just a point of clarification --                    18   videotape deposition of Robin Stone, 30(b)(1) and
19          MR. GORTNER: Can I interrupt you just        19   30(b)(6) representative of Palmetto DMERC. The
20   for a moment? I'm sorry. Could you move your        20   time is approximately 3:35 PM. We are now off
21   microphone up a little bit higher? Apparently       21   the record.
22   we're -- sorry about that.                          22          (The deposition concluded at 3:35 PM.)


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 1           CERTIFICATE OF REPORTER
 2
 3         I, Terri L. Brusseau, Registered
 4   Professional Reporter and Notary Public for the
 5   State of South Carolina at Large, do hereby certify
 6   that the foregoing transcript is a true, accurate,
 7   and complete record.
 8         I further certify that I am neither
 9   related to nor counsel for any party to the cause
10   pending or interested in the events thereof.
11         Witness my hand, I have hereunto
12   affixed my official seal this 16th day of October,
13   2009 at Charleston, Charleston County, South
14   Carolina.
15
16
17
18           ___________________________
19           Terri L. Brusseau, RPR, CRR
20           My Commission expires
21           March 24, 2016.
22




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